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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JOSHUA DUNN, et al.,               )
                                   )
     Plaintiffs,                   )
                                   )           CIVIL ACTION NO.
     v.                            )             2:14cv601-MHT
                                   )                  (WO)
JEFFERSON S. DUNN, in his          )
official capacity as               )
Commissioner of                    )
the Alabama Department of          )
Corrections, et al.,               )
                                   )
     Defendants.                   )


  PHASE 1 FINAL SETTLEMENT APPROVAL OPINION AND ORDER

                         I.    INTRODUCTION

    The     individual     plaintiffs         in   Phase   1   of    this

lawsuit   are    17   prisoners        with    disabilities     in   the

custody of the defendants, the Alabama Department of

Corrections (ADOC or the Department) and Commissioner

Jefferson    Dunn.       The   Alabama        Disabilities     Advocacy

Program     (ADAP),    Alabama’s        protection     and     advocacy

organization for people with disabilities, is also a

plaintiff.
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     Plaintiffs alleged that the Department has violated

Title II of the Americans with Disabilities Act (ADA),

codified at 42 U.S.C. § 12131 et seq., and § 504 of the

Rehabilitation      Act   of    1973,    codified     at    29   U.S.C.

§ 794. 1      Briefly,      plaintiffs       contended      that     the

Department lacks adequate systems for implementing its

obligations under the ADA, and that this results in

discrimination      against      and    failure     to     accommodate

prisoners with disabilities. 2          Specifically, plaintiffs



    1. This     case   has   been    bifurcated   for   the
administrative convenience of the court and parties.
Phase 1, at issue in this opinion, involves ADA claims
alleging    discrimination    on    the   basis    of   and
non-accommodation of physical disabilities.       Phase 2,
to be tried later, involves Eighth Amendment claims
alleging inadequate medical and mental healthcare.
Phase    2    also   involves     ADA    claims    alleging
discrimination on the basis of and non-accommodation of
mental disabilities. Although class certification will
be considered separately for the two phases, there is
significant    overlap   between    the    putative   class
representatives and members.

    2. “State    prisons   fall  squarely  within  the
statutory definition of ‘public entity,’” and Title II
therefore “unmistakably includes State prisons and
prisoners within its coverage.” Pa. Dep’t of Corr. v.
Yeskey, 524 U.S. 206, 209-10 (1998). Moreover, the ADA
applies to all of the “many recreational ‘activities,’
(continued...)
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alleged that the Department failed to (1) implement a

system    for    identifying        prisoners        with    disabilities;

(2) institute        a     system    for     receiving       accommodation

requests       and   a     grievance       procedure    for    challenging

denied    accommodations;           (3) appoint       ADA    coordinators;

(4) adequately             train     personnel          regarding         the

requirements of the ADA; (5) develop an ADA transition

plan     and     corresponding          policies       and    procedures;

(6) remove architectural barriers affecting prisoners

with           disabilities;               (7) provide           reasonable

accommodations, such as auxiliary and visual aids and

services, to those with disabilities; and (8) enable

those    with    disabilities        to     access     various    types   of

programming          and      services.              Plaintiffs      sought

declaratory      and       injunctive      relief.       Jurisdiction     is




medical   ‘services,’ and   educational  and  vocation
‘programs’” offered by prisons, id. at 210; see also
Bircoll v. Miami-Dade Cnty., 480 F.3d 1072, 1081 (11th
Cir. 2007), and to such basic necessities of life as
use of toilets, showers, and sinks, see Schmidt v.
Odell, 64 F. Supp. 2d 1014, 1032-33 (D. Kan. 1999)
(Brown, J.).

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proper under 28 U.S.C. § 1331 (federal question) and 28

U.S.C. § 1343 (civil rights).

       In March 2016, almost two years after this case was

filed    and        after     extensive          discovery,    the       parties

submitted to the court a joint motion for preliminary

approval of a settlement of the Phase 1 claims in this

case.     Their agreement lacked specificity; akin to an

outline,       it    contained      placeholders        in    the    form    of

references to a “plan” that the parties intended to

develop later.             Concerned that it could not approve a

settlement          without       scrutinizing         its     details--the

“beef,” as the court bluntly put it--the court ordered

the parties to submit this plan.

       Initially, it appeared that it would be impossible

for the parties to reach agreement as to specifics;

both    they    and     the    court    prepared        to    go    to    trial.

Meanwhile,      they        continued       to    negotiate,       and    wisely

requested the assistance of United States Magistrate

Judge    John       Ott,    who   generously         volunteered--despite

being    from       another    district--to          devote    a   tremendous


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amount of time to the task.                      After numerous lengthy

mediation sessions, they reached a much more detailed

settlement agreement.

       The parties submitted this agreement to the court

and,    after   a     hearing,    it       entered    an    order    granting

preliminary      approval        and    requiring          the    parties    to

provide      notice     to    class        members.          See     Phase     1

Preliminary Settlement Approval Order (doc. no. 532).

       The   preliminary         approval           order        provisionally

certified the putative Phase 1 class and established a

procedure       for     providing          notice     of     the     proposed

settlement agreement--and a reasonable opportunity to

object or comment--to putative class members.                        Both the

court’s certification analysis and the notice procedure

are discussed in greater detail below.

       In addition to receiving written comments on the

settlement from putative class members, the court held

three fairness hearings.               In the first two, it heard

from a representative group of putative class members

who    had   submitted       comments       on   or   objections       to    the


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settlement       agreement         and    who       were      selected     by    the

court, with the input of the parties.                            Following these

hearings, the court held a third fairness hearing at

which counsel for the parties responded to the various

comments and objections raised by these witnesses and

other questions raised by the court.

    For the reasons that follow, the court will grant

final   approval         of    the   settlement              and   the    parties’

request to enter a consent decree.



           II.     DESCRIPTION OF PROPOSED SETTLEMENT

    The settlement agreement runs some 78 pages.                                As a

preliminary matter, it is predicated on--and defendants

consent    to--the       certification              of   a    settlement       class

defined     as    “any        current         or    future       inmate   in     the

physical    custody           of   ADOC       who    has     a     disability     as

defined in 42 U.S.C. § 12102 and 29 U.S.C. §705(9)(B),

excluding        those    inmates         whose          disabilities       relate

solely to or arise solely from mental disease, illness,




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or defect.”          Am. and Restated Settl. Agmt. (doc. no.

518) at 4.

       The   settlement      agreement         addresses     the     following

measures      that    the    Alabama         Department     of   Corrections

will be required to take in order to ensure that it is

in compliance with the ADA and the Rehabilitation Act:

       Self-Assessment         and           Transition      Plan:           The

Department        will    evaluate       all     facilities      that    house

disabled prisoners, and identify necessary changes to

facilities and policies concerning disabled prisoners’

ability      to    communicate       and       access      programs.         The

Department        will     create    a        transition     plan,     listing

changes to be made and deadlines for those changes.

       Programs:         The Department will provide reasonable

accommodations        for    disabled         prisoners     to   access      the

programs offered by the Department.

       Special Housing Units:                 The Department will make

individualized assessments of disabled prisoners housed

in    residential        treatment       and    stabilization        units    to




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ensure    that    they       have    reasonable         access     to   the

Department’s programs.

      Identification and Tracking:               An initial screening

for disabilities will be performed within 12 hours of a

prisoner’s    entering       the    Department’s        custody,     and   a

physical examination will be administered within seven

days of entry.       The Department will test new prisoners

for intellectual and developmental disabilities using

certain tests and guidelines.                Within about one year,

all   prisoners    will      receive     testing       for   intellectual

disabilities and physical examinations.                  The Department

will track prisoners with disabilities through a new

system-wide      computer     database.          The    Department      will

periodically      re-evaluate         prisoners        for   changes       in

disability status, and will do so anytime a prisoner is

transferred among facilities.

      Security Levels:        In assigning security levels, the

Department    will    not     increase       a   prisoner’s      security

level    solely      based     upon      a   disability,         but    the




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Department will have discretion to lower a prisoner’s

security level based upon a disability.

       Auxiliary Aids and Services:            For prisoners with

hearing    and      vision   impairments,     the   Department       will

provide auxiliary aids and services including readers,

materials           in   Braille,       and     teletype         phones.

Hearing-impaired prisoners will be assessed at least

every three months to ensure their hearing aids are

properly       functioning,      and    any   needed       repairs       or

replacement batteries will be provided according to set

deadlines.       Sign-language interpreters will be provided

for    certain       specified   proceedings,       such    as   intake

interviews, health-care appointments, and disciplinary

hearings, and other prisoners may serve as interpreters

only    with    a    hearing-impaired    prisoner’s        consent   and

only on occasions not involving either medical care or

a criminal investigation, or otherwise implicating a

due-process right.




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    Emergencies:       To evacuate disabled prisoners in the

event of an emergency, the Department will designate

responsible employees, create plans, and run drills.

    Requests,      Grievances,          and   Coordinators:         The

Department will implement a procedure for receiving and

processing prisoners’ requests for accommodations and

appeals     of    denials,        including      specified       forms,

repositories      to    submit     forms,     and     assistance    for

prisoners   in    completing       and    submitting    forms.      The

Department will appoint an ADA coordinator for each of

its facilities, as well as a state-wide coordinator, to

handle ADA requests, process appeals, produce monthly

reports, and assess compliance.

    Training:      The Department will provide initial and

annual    ADA    training     to       correctional     officers    and

enhanced training to ADA coordinators.

    Quality      Assurance:      The     Department    will   create     a

quality-assurance program that includes audits of the

identification         of     disabled        prisoners       and      of

accommodation requests and appeals.


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      The    agreement          also        contains        the        following

provisions related to implementation:

      Monitoring:         ADAP    will      monitor       the     Department’s

compliance      with     the     consent          decree,       and     will     be

entitled to access relevant documents and to conduct

interviews with prisoners and staff.                   ADAP will prepare

quarterly       reports     on     the       Department’s             compliance

containing      written    recommendations            for    any       necessary

changes,    and    the     parties       will      meet     and       confer     to

address any reported deficiencies.

      Dispute     Resolution       Process:               Both        the     named

plaintiffs and unnamed class members (either with or

without representation by class counsel) must arbitrate

claims that the Department is not in compliance with

the   consent     decree.         If        the    Department’s             alleged

non-compliance      impacts       fewer      than     12    prisoners,          the

arbitrator’s decision will be final.                        If 12 or more

prisoners are affected, the arbitrator’s decision may

be    appealed     to     the     court       for      review         under      an

abuse-of-discretion standard.


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    Termination:       After five years the Department may

request termination of the consent decree, which will

terminate after six years unless plaintiffs request and

the court grants an extension.

    Amendment:        The    parties    may   mutually      amend   the

agreement.     The parties agree to re-evaluate deadlines

in the transition plan if Alabama passes legislation to

construct new prison facilities.

    Funding:        The     Department     will     make    good-faith

efforts to obtain necessary funding to comply with the

agreement.

    Attorneys’ Fees:         Finally, the agreement contains

an agreement that the Department will pay plaintiffs’

attorneys $ 1.25 million in fees and costs, as well as

additional fees on an hourly basis (subject to caps)

during   the    monitoring      process,      and    fees    for    any

litigation necessary to enforce the consent decree.




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                            III.     DISCUSSION

      Judicial       policy         favors       the      settlement       of

class-action cases.           Bennett v. Behring Corp., 737 F.2d

982, 986 (11th Cir. 1984).                 This is particularly true

“in an area [such as this] where voluntary compliance

by the parties over an extended period will contribute

significantly toward ultimate achievement of statutory

goals,” Ass’n for Disabled Ams., Inc. v. Amoco Oil Co.,

211    F.R.D.      457,     466    (S.D.     Fla.       2002)   (Gold,    J.)

(quoting     Patterson        v.    Newspaper       &    Mail   Deliverers’

Union, 514 F.2d 767, 771 (2d Cir. 1975)), and “in class

actions with their notable uncertainty, difficulties of

proof, and length,” Behrens v. Wometco Enters., Inc.,

118    F.R.D.      534,     538    (S.D.     Fla.       1988)   (King,    J.)

(citations        omitted),       aff’d,   899    F.2d     21   (11th    Cir.

1990).

      However, the court retains an important role in

evaluating and approving such settlements, pursuant to

multiple provisions of Federal Rule of Civil Procedure

23    and   the    Prison     Litigation      Reform      Act   (PLRA),    18


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U.S.C.      § 3626.        First,      because     the     settlement

contemplates the certification of a class, the court

must determine whether the requirements of Rule 23(a)

and   (b)    are   met.    Second,     Rule   23(e)      imposes   both

procedural and substantive requirements that must be

satisfied before the court may              approve a settlement

that binds absent class members.               Third, because the

settlement includes an agreed-upon award of attorneys’

fees and costs to plaintiffs’ counsel, the court must

determine their suitability for appointment as class

counsel pursuant to Rule 23(g) and the reasonableness

of the fee award reasonable pursuant to Rule 23(h).

Fourth and finally, the court must confirm that the

prospective relief to be afforded through entrance of a

consent decree complies with various provisions of the

PLRA.



      A.    Class Certification: Rules 23(a) and (b)(2)

      The     court       previously       granted        provisional

certification of a settlement class defined to include


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“any current or future inmate in the physical custody

of    the   Alabama    Department         of      Corrections      who    has    a

disability     as     defined      in     42      U.S.C.   § 12012       and    29

U.S.C.      § 705(9)(B),          excluding        those    inmates        whose

disabilities      relate      solely         to    or   arise     from    mental

disease,     illness,       or    defect.”          Phase    1    Preliminary

Settlement Approval Order (doc. no. 532) at 2. 3

      Having    considered          the      parties’       post-settlement

brief on this topic, the court now concludes that final

certification of this settlement class is appropriate

for the reasons that follow.

      In order for any certification motion to succeed,

the    putative      class       representatives           must    show       that

“(1) the     class     is    so    numerous        that    joinder       of    all

members is impracticable; (2) there are questions of



    3. The court and the parties intended the word
‘solely’ to modify both ‘relate to’ and ‘arise from,”
as reflected in the settlement agreement itself.
However, the court preliminarily certified the class
based on the language included in the parties’ motion
for preliminary approval, which omitted the second
‘solely.’ The class certified here is worded according
to the language in the settlement agreement.

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law or fact common to the class; (3) the claims or

defenses of the representative parties are typical of

the   claims     or    defenses       of    the   class;        and   (4) the

representative         parties    will       fairly       and    adequately

protect the interests of the class.”                  Fed. R. Civ. P.

23(a).     In addition, a class must clear one of three

additional      hurdles;    because        the    named    plaintiffs      in

this case seek certification of a Rule 23(b)(2) class,

they must also show that “the party opposing the class

has   acted     or    refused    to   act    on    grounds       that   apply

generally to the class, so that final injunctive relief

or    corresponding       declaratory        relief       is    appropriate

respecting the class as a whole.”                     Fed. R. Civ. P.

23(b)(2).       These requirements apply with “equal force”

to uncontested certification of a class for purposes

only of settlement.         Austin v. Hopper, 15 F. Supp. 2d

1210,    1224    (M.D.    Ala.    1998)      (Thompson,         J.)   (citing

Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620-22

(1997)).




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      The court notes that, in conducting this analysis,

it    has    had   the     benefit         of     briefing    on    a    contested

motion       for        class     certification            filed         prior    to

settlement         of     Phase        1    of     this    case.          Although

defendants no longer contest certification for purposes

and in light of the settlement, the court has assured

itself that, for the reasons discussed below, none of

the   arguments         defendants          previously       offered      warrants

denial of certification.



                                  i.       Standing

      “[A]ny analysis of class certification must begin

with the issue of standing”; only once the court finds

that the named plaintiffs have standing may it consider

whether they have “representative capacity, as defined

by    Rule    23(a),       to     assert          the    rights     of    others.”

Griffin      v.    Dugger,       823       F.2d    1476,     1482    (11th       Cir.

1987).        To    show        Article          III    standing,       the   named

plaintiffs must show that they have been injured, that

their injuries are fairly traceable to the defendants’


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conduct,   and   that    a    judgment    in   their    favor    would

likely redress their injuries.              See Mulhall v. UNITE

HERE Local 355, 618 F.3d 1279, 1286 (11th Cir. 2010).

    The    individual        named     plaintiffs      clearly     have

standing to assert the claims brought in Phase 1 and

now resolved in the settlement agreement. 4                Each is a

prisoner in the custody of defendants, (allegedly) has



    4. Not all of the plaintiffs named in the
complaint prior to bifurcation raised Phase 1 claims.
The following named plaintiffs did so, and are
therefore named class representatives: Edward Braggs,
Tedrick Brooks, Gary Lee Broyles, Sylvester Hartley,
Charlie   Henderson,  Brandon   Johnson,   John  Maner,
Jermaine Mitchell, Roger Moseley, Timothy Sears, Daniel
Tooley, Joseph Torres, and Donald Ray Turner.

    Note that the court has excluded from this list
four named plaintiffs who were released from custody
prior to the filing of plaintiffs’ motion for class
certification, and whose ability to serve as class
representative defendants then challenged. (These four
individuals are: Christopher Gilbert, Dwight Hagood,
Tommie Moore, and Bradley Pearson.)        Because the
parties’ have reached a settlement, it is irrelevant
whether these named plaintiffs’ class claims are moot.
See Dunn v. Dunn, 148 F. Supp. 3d 1329 (M.D. Ala. 2015)
(Thompson, J.) (discussing the legal framework for
assessing the mootness of putative class claims brought
by prisoners who have been released from custody). For
the purposes of this opinion alone, the court has
assumed without deciding that they are.

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a disability that qualifies for the protection of the

ADA and the Rehabilitation Act, and (allegedly)                            has

been denied reasonable accommodations as a result of

the policies and procedures of defendants.                       A judgment

in plaintiffs’ favor would have remedied these alleged

violations, just as will this consent decree.



                           ii.     Rule 23(a)

                            1.    Numerosity

    Rule       23(a)(1)’s        requirement       of      numerosity      is

satisfied      if    joinder--the        usual    method    of    combining

similar claims--would be impracticable.                    Although there

is no strict threshold, classes containing more than 40

members     are       generally         large     enough     to     warrant

certification.         See, e.g., Cox v. Am. Cast Iron Pipe

Co., 784 F.2d 1546, 1553 (11th Cir. 1986); see also

William B. Rubenstein, Newberg on Class Actions § 3.12

(5th ed.).          “[P]laintiff[s] need not show the precise

number    of    members     in     the     class,”      given     that     the

numerosity      requirement        is     “less    significant”          where


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“class wide discrimination has been alleged.”                    Evans v.

U.S. Pipe & Foundry Co., 696 F.2d 925, 930 (11th Cir.

1983).

     In moving to certify a class prior to settlement,

plaintiffs acknowledged that, due to the Department’s

“fail[ure]      to       adequately           identify,       track    and

accommodate people in its custody with disabilities,

ADOC’s     data         significantly           underestimate[]        and

under-identif[y] the number of people with disabilities

in   its     custody,”         and     thus     that     they--and    the

court--could not be sure with great specificity how

many current prisoners are members of the class.                      Mem.

of Law in Supp. of Pls.’ Mot. for Class Cert. (doc. no.

433-2) at 30.         However, they submitted evidence, in the

form of records obtained from the Department’s medical

contractor, indicating that, as of March 2015 (the date

of the most recent records available to plaintiffs), at

least 100 prisoners used wheelchairs, 20 had hearing

impairments,      a    dozen    were      blind,   and    a   dozen   used

prostheses.       All of these disabilities plainly fall


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within the definition of disability in the ADA. 5                   This

evidence alone is sufficient to support a finding of

numerosity. 6



    5. In relevant part, that definition states that
“the term ‘disability’ means ... a physical or mental
impairment that substantially limits one or more major
life activities of [an] individual,” and “major life
activities include, but are not limited to, caring for
oneself, performing manual tasks, seeing, hearing,
eating, sleeping, walking, standing, lifting, bending,
speaking, breathing, learning, reading, concentrating,
thinking, communications, and working.”     42 U.S.C.
§ 12102(1)(A) and (2)(A).

    6. Plaintiffs also suggested in their motion and
the parties now suggest in their post-settlement brief
that the court consider statewide data regarding the
rate of disability among the adult population in
Alabama (apparently, it leads the nation at slightly
less than a third).      Because the court need not
calculate exactly how many current prisoners are
members of the class in order to certify it, the court
need not determine whether a reliable inference can be
drawn on the basis of these data.   However, the court
notes that a recent study by the federal Bureau of
Justice Statistics found that approximately a third of
state and federal prisoners reported at least one
disability, and that almost a quarter of these
prisoners reported a serious vision, hearing, or
ambulatory impairment, rates more than twice that of
the general population. See Jennifer Bronson, et al.,
Disabilities Among Prison and Jail Inmates, 2011-12
(Dec. 2015) (reporting findings based on a national
survey of almost 40,000 prisoners housed in over 200
state and federal prisons, including at least one
(continued...)
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       “Moreover,     the        fluid    nature    of      a     plaintiff

class--as in the prison-litigation context--counsels in

favor    of     certification       of    all    present        and    future

members.”       Henderson v. Thomas, 289 F.R.D. 506, 510

(M.D. Ala. 2012) (Thompson, J.) (citing Kilgo v. Bowman

Transp.,      Inc.,   789    F.2d    859,    878    (11th       Cir.    1986)

(affirming a certified class of 31 present members as

well as future members who could not be identified);

Green v. Johnson, 513 F. Supp. 965, 975 (D. Mass. 1981)

(Freedman,      J.)   (finding      numerosity      after       considering

“the     fact    that    the       inmate       population       at     these

facilities is constantly revolving”)); see also Reid v.

Donelan, 297 F.R.D. 185, 189 (D. Mass. 2014) (Ponsor,

J.) (explaining, in finding numerosity and certifying a

class of detained plaintiffs, that “when a party seeks

only     declaratory        or     injunctive      relief,        ...     the



facility located in each state), available online at
www.bjs.gov/content/pub/pdf/dpji1112.pdf. (This online
document has been filed on the docket.)     Given that
defendants incarcerate approximately 25,000 prisoners,
the size of the class is almost certainly in the
thousands.

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inclusion        of      future       members         increases         the

impracticability of joinder” (citing McCuin v. Sec’y of

Health & Human Servs., 817 F.2d 161, 167 (1st Cir.

1987));    Rubenstein,      Newberg     on    Class    Actions     § 3.15

(5th    ed.)    (explaining   that      the   inclusion       of   future

class members “may make class certification more, not

less, likely”; citing two decisions certifying classes

of prisoners, Hill v. Butterworth, 170 F.R.D. 509, 514

(N.D.   Fla.     1997)   (Paul,   J.)    (“[T]he      presence     of    an

unknown number of future class members here actually

bolsters a finding of the requisite numerosity.                         ...

This Circuit has held [that when] the alleged class

includes           future          [members],                necessarily

unidentifiable[,] ... the requirement of Rule 23(a)(1)

is clearly met, for joinder of unknown individuals is

clearly        impracticable.”        (citation        and      internal

quotation marks omitted)); Clarkson v. Coughlin, 145

F.R.D. 339, 346 (S.D.N.Y. 1993) (Sweet, J.) (“The class

action device is particularly well-suited in actions

brought by prisoners due to the fluid composition of


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the prison population.           Prisoners frequently come and

go from institutions for a variety of reasons.                  Veteran

prisoners     are    released      or   transferred,       while     new

prisoners arrive every day.              Class actions therefore

generally tend to be the norm in actions such as this.”

(citations and internal quotation marks omitted))). 7

     In light of plaintiffs’ evidentiary showing that

there are at least--and probably quite substantially

more than--150 prisoners with disabilities (as defined

in the ADA) in the custody of the Department, and in

light of precedent making clear that it is appropriate

in prison-conditions litigation to consider future and

as-yet-unidentifiable         class     members      in   determining

whether joinder is impracticable or indeed impossible,

the court finds that the class meets the numerosity



    7. Recognition of prisoners’ relatively limited
“access to the legal system ... has [also] led courts
to certify classes in cases ... which involve issues of
common concern to inmates even when the potential class
size is small and somewhat undefined.”       Bradley v.
Harrelson, 151 F.R.D. 422, 426 (M.D. Ala. 1993)
(Albritton, J., adopting recommendation of Carroll,
M.J.) (citation and internal quotation marks omitted).

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requirement of Rule 23(a)(1).



                            2.    Commonality

       Rule    23(a)(2)     requires        named   plaintiffs   seeking

class certification to show that “there are questions

of law or fact common to the class.”                       In Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338 (2011), the Supreme

Court explained that “this does not mean merely that

they    have        all   suffered      a    violation   of   the    same

provision of law.           ...      [Rather,] [t]heir claims must

depend upon a common contention ... [which] must be of

such     a    nature      that    it    is     capable   of   classwide

resolution--which means that determination of its truth

or falsity will resolve an issue that is central to the

validity of each one of the claims in one stroke.                   What

matters to class certification ... is not the raising

of common ‘questions’--even in droves--but, rather the

capacity of a classwide proceeding to generate common

answers apt to drive the resolution of the litigation.”

Id.    at     350    (citation    and       internal   quotation    marks


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omitted).       In short, commonality requires a showing

that there is “some glue” holding the claims together.

Id. at 352.

    However,        plaintiffs           seeking       to      demonstrate

commonality     under     Rule    23(a)(2)      need     not    show    that

common      questions       “predominate”           over       individual

questions    as    required       under    Rule     23(b)(3);      indeed,

“even a single common question will do.”                    Wal-Mart, 564

U.S. at 359 (citations and alterations omitted).



                            a.     Analysis

    In their pre-settlement opposition to plaintiffs’

motion    for     class   certification,           defendants     focused

primarily       (almost          exclusively)          on      contesting

commonality.        Although       they    no   longer       raise     these

points of law, the court must give a reasoned response

to their arguments in order to explain adequately why

certification of a settlement class is warranted.

    Defendants contended that commonality was lacking

because      the     putative        class         was       “expansive,”


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encompassing         prisoners         with      a      wide     range     of

disabilities,        and     sought     to      “challenge      the     entire

panoply of possible ADA violations.”                     Def.’s Opp’n to

Pls.’ Mot. for Class Cert. (doc. no. 476)) at 18.                        They

argued    that      plaintiffs’        claims    were    “not    a    single,

homogenous     claim,”       except     at     “the   highest     level    of

abstraction,”        but    rather     “many     different      ADA     claims

touching      on     many    different         ADA    requirements        that

Plaintiffs[] ha[d] lumped together for purposes of this

lawsuit.”     Id. at 18-19.

       Defendants were quite correct that the individual

named plaintiffs’ disabilities, and the accommodations

they     alleged      they       had    been      denied,       are     rather

different.         But defendants misapprehended the basis of

liability plaintiffs asserted: not the denial of the

accommodations themselves, but the denial of a system

that would have the effect of ensuring that they and

their fellow prisoners were appropriately accommodated.

(Or,     to   phrase        it   differently,         they      argue     that

defendants have failed to remedy an inadequate system


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that has the effect of discriminating against them by

failing to accommodate their disabilities.)

       If    indeed      plaintiffs     were     an    assorted     group    of

prisoners alleging merely that defendants had failed to

provide       them    particular      accommodations         (and       seeking

simply orders requiring that they be provided those

same accommodations), class certification would not be

appropriate.          But plaintiffs were endeavoring to prove

not merely, or even primarily, that their individual

rights to particular accommodations under the ADA have

been violated.            They planned to present evidence to

this effect to demonstrate that defendants’ failure to

implement         certain     policies     and        procedures    has     the

effect of consistently violating their rights under the

ADA,        and   that      they--and      the    class     members       they

represent--were            therefore       entitled        to      an     order

requiring defendants to implement those policies and

procedures. 8



    8. Of course, it may well be true that some class
members have not actually been denied a reasonable
(continued...)
                                      28
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    Plaintiffs       directed    the     court      to    a    number     of

alleged systemic failures.             They highlighted three in

particular     (which     also     constitute            violations       of

Department of Justice regulations promulgated pursuant

to Title II of the ADA, see 28 C.F.R. §§ 35.107(a),

35.107(b), 35.150(d)): the failure to (1) appoint and

train   ADA     coordinators,          (2) adopt         ADA    grievance

procedures,    and    (3) develop       an   ADA    transition      plan.

Defendants    conceded     for    the    sake      of    argument       that

whether they had failed to do these things could be

common questions with common answers, but argued that

these questions could not satisfy Rule 23(a)(2) because

the regulations at issue are not privately enforceable,

and the common answers were therefore not “apt to drive

the resolution of the litigation.”                 Wal-Mart, 564 U.S.



accommodation. But the inclusion of some class members
who   have   not    been  injured   does   not   defeat
certification.   See In re Deepwater Horizon, 785 F.3d
1003, 1015 (5th Cir. 2015); Shelton v. Bledsoe, 775
F.3d 554, 564 (3d Cir. 2015); Messner v. Northshore
Univ. HealthSystem, 669 F.3d 802, 824 (7th Cir. 2012);
Holmes v. Godinez, 311 F.R.D. 177, 216 (N.D. Ill. 2015)
(Aspen, J.).

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at 350.

       The   court    will    assume,     also    for    the   sake       of

argument,      that    defendants       were   correct    that      these

regulations do not create a private right of action.

This would not, however, have made them irrelevant.

They     are   binding       regulations       promulgated     by     the

Department     of     Justice   (which    would    be    empowered    to

bring an enforcement action). 9            When courts have found

them not to be privately enforceable, as in Ability

Ctr. of Greater Toledo v. City of Sandusky, 385 F.3d

901, 913-14 (6th Cir. 2004) (relying on Alexander v.

Sandoval, 532 U.S. 275 (2001)), they have reasoned that

the regulations are designed to facilitate, but do more



    9. See A.R. ex rel. Root v. Dudek, 31 F. Supp. 3d
1363,   1368-70   (S.D.  Fla.   2014)   (Rosenbaum,  J.)
(explaining   that   42  U.S.C.   § 12132,   Title  II’s
enforcement provision, incorporates by reference the
enforcement provision of Title VI of the Civil Rights
Act of 1964, 42 U.S.C. § 2000d-1, which authorizes the
Department of Justice to bring enforcement litigation);
42 U.S.C. § 2000d-1 (granting agencies enforcement
authority   to   “effect[]”   “[c]ompliance    with  ...
requirement[s] adopted pursuant to this section,” such
as “regulations ... which shall be consistent with
achievement of the objections of the statute”).

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than merely describe, compliance with the ADA, such

that    “it    is   conceivable   that      a   public       entity   could

fully     satisfy     its   obligations         to    accommodate      the

disabled while at the same time fail to put forth a

suitable transition plan.”

       All this means is that the Department’s failure to

implement a transition plan would not have constituted

a per se violation; plaintiffs could not have shown

liability merely by proving that the Department had no

transition plan, without showing that the Department

had, as a result, failed to accommodate prisoners with

disabilities.        That said, plaintiffs could have argued,

and proven at trial, that the Department’s failure to

do the things required by these regulations had the

effect of discriminating.



          b.     Methods-of-Administration Regulation

       Indeed,         there           is            another--privately

enforceable--ADA       regulation       which        makes    clear   that

policies and practices (or their absence) which result


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in discrimination against people with disabilities are

actionable      under    the    ADA,    even    if       the    policies       and

practices    (such       as    the    three     regulations         discussed

above)   are     not    themselves         required       by     the     statue.

Under this regulation, plaintiffs in an ADA case can

challenge    a       policy    or    practice--whether            it     is    one

described       in     another        regulation          or     simply        one

articulated by the plaintiffs themselves--if it causes

the    public        entity    to     discriminate             against      them,

including by failing to accommodate them.

      The so-called methods-of-administration regulation

recognizes      that     the   ADA     forbids       a    public       entity’s

utilization, “directly or through contractual or other

arrangements,           [of]         criteria        or         methods         of

administration: (i) That have the effect of subjecting

qualified        individuals            with         disabilities               to

discrimination         on     the     basis     of       disability;          [or]

(ii) That have the purpose or effect of defeating or

substantially          impairing           accomplishment              of      the

objectives of the public entity’s program with respect


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to     individuals       with    disabilities.”             28     C.F.R.

§ 35.130(b)(3). 10

       This   regulation    “applies      to   written      policies     as

well as actual practices, and is intended to prohibit

both blatantly exclusionary policies or practices as

well    as    policies    and   practices      that   are    neutral     on

their face, but deny individuals with disabilities an

effective       opportunity      to     participate.”            Cota     v.

Maxwell-Jolly,      688    F.   Supp.    2d    980,   995    (N.D.      Cal.

2010) (Armstrong, J.) (citation and internal quotation



    10. Courts   have   consistently   held  that   the
methods-of-administration   regulation   is   privately
enforceable under Alexander, because it “does not
create rights that do not exist under the ADA.”
Brantley v. Maxwell-Jolly, 656 F. Supp. 2d 1161,
1175-76 (N.D. Cal. 2009) (Armstrong, J.); see also Day
v. D.C., 894 F. Supp. 2d 1, 22-23 (D.D.C. 2012)
(Huvelle, J.); Conn. Off. of Prot. & Advocacy for
Persons with Disabilities v. Connecticut, 706 F. Supp.
2d 266, 277-78 (D. Conn. 2010) (Thompson, J.); Crabtree
v. Goetz, 2008 WL 5330506, at *24 (M.D. Tenn. Dec. 19,
2008) (Haynes, J.); Frederick L. v. Dep't of Pub.
Welfare, 157 F. Supp. 2d 509, 538 (E.D. Pa. 2001)
(Schiller, J.); Judice v. Hosp. Serv. Dist. No. 1, 919
F. Supp. 978, 982 (E.D. La. 1996) (Feldman, J.) (“28
C.F.R. § 35.130 ... do[es] not seem broader than the
statute.”).



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marks omitted).       And there is nothing in the regulation

or the case law interpreting it to suggest that the

discriminatory       effects     of     a   particular     method     of

administration must be uniform in order for the method

to be properly subject to challenge. 11

     Moreover, an omission as well as a commission can

be   an   actionable      method      of    administration. 12        In



    11. Consider, for example, the hypothetical prison
administrator who decides whether to accept any
particular accommodation request by flipping a coin.
This method of administration will have widely varied
effects, and will just as plainly be actionably
unlawful.   Less farcically, consider the administrator
who denies any accommodation that would cost more than
$ 20. This method of administration may result in the
denial of hearing aids, sign-language interpreters, and
shower grab-bars, in lots of different facilities to
lots of different prisoners with lots of different
disabilities.    Clearly, though, they could properly
raise one common joint methods-of-administration claim
and offer evidence of all these denials as proof of
discriminatory effects.

    12. The methods-of-administration regulation makes
clear that a know-nothing, do-nothing policy of
non-administration is a privately actionable violation
of the ADA, at least when plaintiffs can show that it
has the effect of discriminating. As Justice Marshall
explained in Alexander v. Choate, Congress designed the
Rehabilitation Act, the predecessor statute to the ADA,
to address not only “invidious animus,” but also, more
(continued...)
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Connecticut Office of Protection & Advocacy for Persons

with Disabilities v. Connecticut, 706 F. Supp. 2d 266

(D. Conn. 2010) (Thompson, J.), the court held that the

plaintiffs had adequately alleged a claim under the

regulation by contending that the defendants had, among

other things, “failed to adequately assess and identify

the long-term care needs of Plaintiffs and the Class

they represent and to determine whether those needs

could        be    appropriately         met      in         integrated,

community-based settings.”             Id. at 277-78.         The court

went    on   to   find   that   the    plaintiffs      had    identified




commonly, “thoughtlessness and indifference--[] benign
neglect.”   469 U.S. 287, 295 (1985).      Courts have
consistently explained that “Title II [of the ADA]
imposes affirmative obligations on public entities and
does   not  merely   require  them   to  refrain   from
intentionally discriminating against the disabled.”
Ability Ctr. of Greater Toledo v. City of Sandusky, 385
F.3d 901, 910 (6th Cir. 2004); see also Disabled in
Action v. Bd. of Elections in City of N.Y., 752 F.3d
189, 200-01 (2d Cir. 2014); Toledo v. Sanchez, 454 F.3d
24, 32 (1st Cir. 2006); Bennett-Nelson v. La. Bd. of
Regents, 431 F.3d 448, 454-55 (5th Cir. 2005);
Constantine v. Rectors & Visitors of George Mason
Univ., 411 F.3d 474, 488 (4th Cir. 2005).     Under the
ADA, a public entity must be “proactive.”    Clemons v.
(continued...)
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multiple common issues suitable for class certification

“with respect to the alleged failure of the methods of

administration used by the defendants,” including their

“failure to evaluate the proposed class for readiness

for community placement.”                Id. at 287; see also id. at

289 (explaining that the “gravamen” of the plaintiffs’

claims was not a demand to be placed in community-based

alternatives but rather a demand that the defendants

“cease    using       methods      of    administration       that   subject

individuals with disabilities to discrimination”).                        See

also Kathleen S. v. Dep’t of Pub. Welfare of Pa., 10 F.

Supp.    2d    460,     471      (E.D.    Pa.   1998)      (Broderick,    J.)

(finding that the defendant had “utilized methods of

administration at Haverford State Hospital which have

resulted in discrimination against class members ....

through its failure to initiate plans sufficiently in

advance       to    ensure       the    necessary    placements      in   the

community          within    a    reasonable        time    after    it   was



Dart, 2016 WL 890697, at *6 (N.D. Ill. Mar. 9, 2016)
(Tharp, J.).

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determined    that    a    member    of    [the   class]       had    become

appropriate for community placement”).



                      c.    Common Questions

     The    methods-of-administration             regulation         neatly

encapsulates the common questions plaintiffs presented,

which were whether the Department has employed methods

of      administration        that        have     the        effect        of

discriminating              against              prisoners               with

disabilities--namely,         (1) employing        no    system       or    an

inadequate       system     for      identifying         and        tracking

prisoners with disabilities, (2) employing no system or

an   inadequate       system        for     prisoners         to     request

accommodations        and      submit        grievances            regarding

non-accommodation, (3) failing to appoint or train ADA

coordinators     or   other    administrators           responsible        for

oversight of compliance with the ADA, (4) failing to

train    staff   regarding     the       requirements      of      the   ADA,

(5) failing      to   promulgate          policies      and     procedures

regarding the treatment of prisoners with disabilities,


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and (6) failing to draft a plan for identifying and

addressing          areas       of        non-compliance        with     the

requirements of the ADA.              These are questions common to

the class, susceptible of common answers apt to drive

the resolution of the case.

       Plaintiffs not only alleged in their complaint that

the lack of these policies and practices resulted in

discrimination; they presented expert evidence to show

as     much    in     support        of        their   motion   for    class

certification.         While the court would of course have

had    to     weigh    this        evidence       against   any    contrary

evidence presented by defendants had Phase 1 of this

case    proceeded      to   a      merits       adjudication,     plaintiffs

“affirmatively demonstrate[d] [their] compliance with

[] Rule” 23(a)(2).          Wal-Mart, 564 U.S. at 350.

       The commonality requirement is satisfied.



                              3.     Typicality

       Although the commonality and typicality inquiries

“tend to merge,” the typicality requirement--which is


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“somewhat     of     a     low       hurdle”--focuses         the       court’s

attention on “whether a sufficient nexus exists between

the claims of the named representatives and those of

the class at large.”             Gen. Tel. Co. of Sw. v. Falcon,

457 U.S. 147, 157 n.13 (1982); Taylor v. Flagstar Bank,

FSB, 181 F.R.D. 509, 517 (M.D. Ala. 1998) (Albritton,

J.); Busby v. JRHBW Realty, Inc., 513 F.3d 1314, 1322

(11th   Cir.       2008)       (citation        omitted).           A    class

representative’s claims are typical if they “arise from

the same event or pattern or practice and are based on

the same legal theory” as the class claims; they need

not be identical.          Williams v. Mohawk Indus., Inc., 568

F.3d 1350, 1357 (11th Cir. 2009) (citation omitted);

see In re Healthsouth Corp. Sec. Litig., 257 F.R.D.

260, 275 (N.D. Ala. 2009) (Bowdre, J.).

    This     court       has    previously       found   the    typicality

requirement     satisfied            in    another     case    brought      by

disabled prisoners, given that “the named plaintiffs’

legal   claim--that            the    defendants       are     engaged       in

disability     discretion        in        violation   of     the   ADA    and


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Rehabilitation Act--is identical to the class’s claim.”

Henderson, 289 F.R.D. at 511.                 Here, too, the named

plaintiffs brought the same claims as the class: that

the Department employed methods of administration which

resulted      in   rampant      discrimination     against    prisoners

with disabilities.

    It is true that the named plaintiffs (and the class

members more generally) have diverse disabilities and

require       various    different       accommodations      for     those

disabilities.           Their    claims   were     not    disability      or

accommodation-specific,             though;        they      challenged

systemic practices with which they all interact and

from which they all allegedly suffer.                Moreover, to the

extent     that    the    named     plaintiffs      have    sought     and

obtained relief that pertains specifically to prisoners

with certain categories of disabilities, such as those

related to communication, mobility, or cognition, the

court    is    satisfied     that   the    named    plaintiffs,      as    a

group, adequately cover the spectrum of disabilities,




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such that the particular interests of all class members

are represented.



                           4.     Adequacy

    Rule 23(a)(4) requires the court to find that the

“representative       parties     will   fairly     and    adequately

protect the interests of the class.”                   This analysis

“encompasses    two    separate     inquiries:      (1) whether     any

substantial    conflicts     of    interest    exist      between   the

representatives     and   the     class; 13   and   (2) whether     the

representatives will adequately prosecute the action.”

Valley Drug Co. v. Geneva Pharm., Inc., 350 F.3d 1181,

1189 (11th Cir. 2003) (citation omitted).

    “Adequate representation is usually presumed in the

absence of contrary evidence,” and generally exists for

injunctive-relief classes, because there is no monetary



    13. For a conflict to defeat class certification,
it must be “fundamental,” such that “some party members
claim to have been harmed by the same conduct that
benefitted other members of the class.”     Valley Drug
Co. v. Geneva Pharm., Inc., 350 F.3d 1181, 1189 (11th
Cir. 2003).

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pie to be sliced up.          Access Now, Inc. v. Ambulatory

Surgery Ctr. Grp., Ltd., 197 F.R.D. 522, 528 (S.D. Fla.

2000) (Seitz, J.).          No member of the class will be

harmed    when      another        prisoner’s       disability       is

accommodated     pursuant     to    the    relief   they    have    all

sought and together obtained.             To the contrary: many of

the   reforms    the    consent         decree   requires    facially

benefit all disabled prisoners equally; for example,

establishing an ADA request and grievance process will

allow all class members, regardless of their individual

circumstances, to seek out and obtain accommodations.

See Ass’n for Disabled Ams., Inc., 211 F.R.D. at 464

(certifying a settlement class of persons with diverse

disabilities and finding that the consent decree to be

issued would “provide substantially equal benefits and

relief to all members of the class through increased

accessibility and the coordinated removal of physical

and communication barriers”).

      Moreover, many of the particular accommodations to

be provided to individual class members will in fact


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have significant benefits for other prisoners.                      Once an

inmate    handbook     is    translated       into      Braille     for   one

prisoner’s use, for example, another blind prisoner who

enters the system will more readily be provided with

the same accommodation.             Once a grab bar is installed

in a shower in a particular dormitory to accommodate a

prisoner who has difficulty standing, another prisoner

with a similar disability can use it.

      Turning now to the second aspect of Rule 23(a)(4):

“The vigor with which [] named representative[s] and

[their]     counsel      will      pursue     the       class    claims    is

assessed by considering the competency of counsel and

the   rationale    for      not    pursuing       further       litigation.”

Id.   (citing    Griffin     v.     Carlin,       755    F.2d    1516,    1533

(11th    Cir.   1985)).           The    competency      of     counsel    for

plaintiffs in this case is reflected plainly in their

extensive involvement in a large number of successful

class actions vindicating the constitutional or federal

statutory       rights      of      classes        of     prisoners       and

individuals     with     disabilities        in    Alabama,       throughout


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the South, and across the country.              See Mem. of Law in

Supp. of Pls.’ Mot. for Class Cert. (doc. no. 433-2) at

46-48 (listing cases).

    Their rationale for not pursuing further litigation

is equally plain--after extensive negotiation and while

actively preparing to try Phase 1 of this case, they

reached a settlement highly favorable to all members of

the class.      “[C]ontinued litigation would only serve to

delay   class    relief   ....”        Ass’n    for   Disabled    Ams.,

Inc., 211 F.R.D. at 464.

    Admittedly, the court is troubled by plaintiffs’

counsel’s earlier acquiescence to an initial settlement

agreement that included a seriously inadequate level of

specificity.        On    balance,      however,      the   court    is

impressed that once set to the task of negotiating a

detailed ‘plan,’ they proceeded to engage in weeks of

involved   mediation,      in   which    they    apparently      fought

hard and obtained very good results for their clients.

The fact that these efforts at first fell through, and

only resulted in a settlement shortly before trial, is


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one   indication    of    the    steadfastness        of    plaintiffs’

counsel.     Additionally, the bifurcation of this case

into phases places the court at a uniquely privileged

vantage point in assessing whether plaintiffs’ counsel

are overeager to settle.          The parties have attempted to

negotiate     a    settlement          to     Phase    2         of     this

case--concerning         medical,           dental,        and        mental

healthcare--in     numerous      mediation      sessions         with    the

same magistrate judge who helped them to resolve Phase

1.    Despite seeking a three-week extension of pretrial

deadlines in the hope that they would be able to reach

agreement, they have informed the court that Phase 2

will go to trial.        Although the court cannot know the

reasons for this decision, it certainly suggests that

plaintiffs’ counsel are not pushovers.

      Rule 23(a)(4) is satisfied.



                      iii.      Rule 23(b)(2)

      A class satisfies Rule 23(b)(2) in cases in which

“the party opposing the class has acted or refused to


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act   on   grounds     generally    applicable       to    the    class,

thereby making appropriate final injunctive relief or

corresponding declaratory relief with respect to the

class as a whole.”            Fed. R. Civ. P. 23(b)(2).             “Rule

23(b)(2)    has   been   liberally      applied     in    the    area   of

civil   rights,    including      suits    challenging       conditions

and practices at various detention facilities, as well

as claims for violations of the ADA and Rehabilitation

Act.”      Bumgarner     v.    NCDOC,   276    F.R.D.     452,     457-58

(E.D.N.C. 2011) (Boyle, J.); see also Wright & Miller,

7AA Fed. Prac. & Proc. Civ. § 1776 (3d ed.) (discussing

the range of civil-rights actions certified pursuant to

Rule 23(b)(2), and explaining that “the class suit is a

uniquely appropriate procedure in civil-rights cases,

which generally involve an allegation of discrimination

against a group as well as the violation of rights of

particular    individuals”).           Indeed,     some   courts     have

gone so far as to say that the rule’s requirements are

“almost    automatically       satisfied      in   actions      primarily




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seeking injunctive relief.”             Baby Neal ex rel. Kanter

v. Casey, 43 F.3d 48, 59 (3d Cir. 1994).

     As plaintiffs have repeatedly explained (and indeed

offered some evidence to demonstrate) throughout the

litigation of this case, the problems of which they

complain and the remedies they seek are systemic.                    The

existence or lack of a general, state-wide Department

policy    or    procedure      regarding      the    identification,

tracking, or accommodation of disabilities necessarily

affects all disabled prisoners. 14




    14. As discussed above in the commonality context,
the fact that some class members may already have
received reasonable accommodations and therefore might
not have been injured by the challenged policies and
procedures does not defeat certification. See Anderson
v. Garner, 22 F. Supp. 2d 1379, 1386 (N.D. Ga. 1997)
(Murphy, J.) (“‘[A]ll the class members need not be
aggrieved by or desire to challenge the defendant’s
conduct in order for one or more of them to seek relief
under Rule 23(b)(2).’   Johnson v. American Credit Co.
of Georgia, 581 F.2d 526, 532 (5th Cir. 1978); Georgia
State Conference of Branches of NAACP v. State, 99
F.R.D. 16, 35 (S.D. Ga. 1983).    ‘What is necessary is
that the challenged conduct or lack of conduct be
premised on a ground that is applicable to the entire
class.’ Georgia NAACP, 99 F.R.D. at 35-36.”).

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     Class certification pursuant to Rule 23(b)(2) is

appropriate.



             B.   Settlement Approval: Rule 23(e)

     When    parties         to     a        non-class    action--who          have

participated      actively              in     litigating       and     then     in

resolving their case--reach a private settlement, the

court   need      not        and        does     not     enquire       into     the

appropriateness         of    it        terms.         Before     approving      a

settlement     agreement           in    a     class    action,       though,   “a

court has a heavy, independent duty to ensure that the

settlement is ‘fair, adequate, and reasonable.’”                              Laube

v. Campbell, 333 F. Supp. 2d 1234, 1238 (M.D. Ala.

2004) (Thompson, J.) (quoting Fed. R. Civ. P. 23(e)(2),

additional citation omitted).                    This careful inspection

is   “essential    to        ensure          adequate    representation          of

class members who have not participated in shaping the

settlement.”      Fed. R. Civ. P. 23(e) advisory committee

note.   In the course of this review, the court must

determine whether notice to the class was adequate, and


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must consider the comments made and objections raised

by class members, as well as the opinions of class

counsel.       Laube, 333 F. Supp. 2d at 1238.



                   i.    Notice to Class Members

    “The court must ensure that all class members are

informed of the agreement[] and have the opportunity to

voice their objections.”                Laube, 333 F. Supp. 2d at

1240; Fed. R. Civ. P. 23(e)(1).

    The       court’s        order   preliminarily        approving     the

settlement agreement contained specific procedures for

the Department of Corrections to give notice of the

settlement       to     the     members       of   the     provisionally

certified class, as well as approved notice and comment

forms.         Substantively,         the    three-page     notice     form

included a description of the case, a definition of the

class,    a    list     of    the    provisions    of    the   settlement

agreement, an indication of its preclusive effects, and

notice    of    the   agreement         concerning     attorney’s     fees.

Additionally,         the      notice       included     directions    for


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obtaining a copy of the settlement agreement, contact

information for class counsel along with an invitation

for    prisoners     to     inquire     about   the   settlement,    an

announcement of the fairness hearing, and instructions

for prisoners to exercise their right to comment about

or object to the settlement.              The comment form allowed

a respondent to select the general topic(s) at issue

from    a   list,   and     to   indicate   whether    the   commenter

wished to testify at a fairness hearing.

       The notice form was posted in each dormitory and

library within the prison system, and copies of the

comment form were made available in the libraries and

shift commanders’ offices.               Copies of the settlement

agreement were made available for viewing in the law

library or another location within each facility and

were provided upon request to any prisoners lacking

access to that location.           Prisoners who were not housed

in dormitories were hand-delivered a copy of the notice

and    comment      forms    and   an    envelope.      Weekly     oral




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announcements     also      notified     all    prisoners      of   the

settlement and the opportunity to comment or object.

      The notice and comment forms              and copies      of the

settlement      agreement      were    also    made    available     in

Spanish,    Braille,     and    large    print.        Upon   request,

prisoners were to receive assistance in reading the

documents and in writing comments.

      Secured   and    clearly    labeled      comment    boxes     were

placed in each facility for prisoners to submit forms,

and     defendants’    staff     were    designated      to    collect

comment forms from prisoners lacking                  the freedom to

move about their facilities.                 The comment boxes and

forms    were   transmitted      to    the    Department’s     general

counsel, and a representative of the clerk of court met

with the parties to open the comment boxes.                   Prisoners

were also given the option to submit comments by mail

directly to the clerk of court.

      Notice of the settlement agreement was posted by

June 24, 2016, and prisoners were given until July 25,

2016, to submit comments.             (Comments received by mail


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after this date were also docketed.)                  More than 550

prisoners submitted comments.

     One matter concerning the submission of comments

warrants    additional      discussion.        The   court    received

correspondence      from    two    prisoners     housed     at    Holman

Correctional      Facility,       which   it   construed      both     as

objections to the settlement agreement and as motions

for extensions of the time for submission of comments.

     Both submissions, which were phrased similarly to

each other, stated that prisoners at Holman had been

unable     to   review     the    settlement     agreement       at   all

because the facility--including the law library where

the settlement documents were to be made available--had

been in lockdown throughout the duration of the comment

period.     These prisoners further stated that no comment

box had been placed at Holman. 15




    15. Notably, these submissions were postmarked well
after the comment period had closed; at that time,
there should no longer have been a comment box in the
facility.

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      The court promptly brought these submissions to the

attention of the parties, explaining that it took the

allegations very seriously.                   Because the putative class

members    in    this       case        are       incarcerated,        and     their

freedom    of    movement          is    limited         not    only      by   their

custodians       but        also        in        many     cases       by      their

disabilities,         the       court        is     acutely        sensitive         to

ensuring   that       they        received         adequate      notice        and    a

meaningful opportunity to be heard.                            Hence, the court

instructed the parties to investigate these allegations

and report back.

      Having    now     looked      into          the    matter,    the      parties

contend that prisoners at Holman were in fact given

adequate       notice       of     the        settlement         agreement           and

opportunity to respond to it.                      First, the parties point

to the fact that nine prisoners at Holman did timely

submit comments, three by direct mail to the court and

six   by   way     of       a     comment         box     placed     at      Holman,

consistent      with        the     established            notice      procedure.

Second, the parties present evidence in the form of a


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sworn     affidavit         by     the     Warden        of      Holman,   which

indicates that he followed the notice procedures, that

Holman was on lockdown on June 27-28, July 1-5, July

11-12, and July 16-17, but not otherwise on lockdown

during     the   comment           period,       and     that     during   these

lockdown     periods          notice        and        comment     forms    were

nonetheless      available           to        prisoners      throughout      the

facility.

     Although it is unfortunate that prisoners at Holman

were unable to review the settlement agreement in the

law library for some portions of the comment period,

the evidence submitted by the parties suggests--and the

comments the court received from prisoners at Holman

corroborates--that prisoners housed there were able to

do   so   for    more       than    half        of   the    one-month      period

allotted.        Therefore, the court finds that putative

class     members      at    Holman       were       afforded      an   adequate

opportunity to review and respond to the settlement

agreement,       and        that     they        need      not    be    afforded

additional time to do so.


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                   ii.   Objections and Comments

       Based on the suggestions of counsel and the court’s

own review of the comments submitted, 45 prisoners and

two     individuals      who        had    been     released      from     the

Department’s       custody       during       the      pendency      of    this

lawsuit     were    selected         to    testify       during      fairness

hearings      conducted             over      the      course        of     two

days--partially in person at the federal courthouse,

and     partially        by     videoconference           (due       to     the

impracticality of visiting a large number of prisons).

Of those selected, 37 elected to testify.                           Prisoners

were     selected        based       on     various       considerations,

including the substance of their comments; those who

submitted    comments         not    germane      to    the   case    or    the

settlement were excluded from consideration.                          Efforts

were made to ensure a fairly representative sample in

terms of the range of disabilities class members have

and the facilities in which they are housed.                         Both the

parties     and    the    court        have    reviewed       the     written


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comments of those who were not selected to testify, as

well as those who declined to do so.

    Those    prisoners       who    testified    at    the    fairness

hearings    and   those   who      submitted    comments     raised      a

range of issues, many of which were relevant but some

of which were not.         For example, some prisoners wrote

about other legal claims they wished to bring or on

prison conditions unrelated to discrimination against

prisoners with disabilities.

    Other comments were relevant to this litigation,

but were more squarely related to claims at issue in

Phase 2, rather than Phase 1.               For example, several

prisoners commented that their requests for medically

necessary treatment, including mental-health treatment,

had been denied by the Department.

    Of     the    directly     pertinent     comments,       the   vast

majority     expressed         discontentment       with      existing

conditions or procedures, rather than any objection to

the adequacy or fairness of the agreement or to any

specific    provision     of    it.     Indeed,       many   expressed


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support for the agreement.                  Generally,     the comments

submitted fell into five loosely defined categories:

identification,              accommodations,               architecture,

grievances, and money damages and attorney fees.

    Identification: Thirty-one prisoners flagged their

comments     as      related        to      disability-identification

procedures.         Some    commented       that    they   had    not    been

formally identified as disabled despite the fact that

their     medical     records       indicated      they    were.        Some

suggested allowing disabled prisoners to self-identify.

Others      commented        that        identification          of     their

disabilities        did    not     follow    them     during      transfers

between    facilities.            Further, some alleged           that the

Department’s failure to identify their disabilities had

resulted in them being required to hold jobs they were

not capable of        performing.           Finally, some prisoners

suggested     that        those    with     disabilities         be   housed

separately from others, in part due to security-related

concerns.




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      The    settlement          agreement      allows,     but     does     not

require,      the        Department       to     accept     an     individual

prisoner’s self-report of a disability.                          Assuming the

Department        does     not    accept       such   self-reports,          the

agreement requires it to conduct screening procedures

within specified time periods, using specified tests,

and   requires      it     to    review    disability       determinations

periodically.        As to tracking, the agreement mandates a

new Department-wide computer system.                      It also requires

the Department’s personnel at receiving facilities to

review a prisoner’s disability status and corresponding

health codes in the event of a transfer.                         Furthermore,

the agreement’s identification provisions are designed

to address the concerns of those prisoners required to

do work they are not able to perform; once identified,

a disabled prisoner would be given a work assignment

(if any) consistent with the prisoner’s limitations.

Finally,     as     to    requests    that       disabled    prisoners        be

housed      separately       from     other      prisoners,        the     court

agrees      with     the        parties        that   imposing       such     a


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requirement       would     be     inconsistent         with     the    ADA’s

integration       mandate.         See    42    U.S.C.       § 12101(a)(2);

Olmstead v. L.C., 527 U.S. 581 (1999).

       Accommodations:       One    hundred       and    four     prisoners

indicated that their comments pertained to disability

accommodations.         Some prisoners with vision impairments

stated     that    materials        provided      to     them,     such    as

official notices or books, should be made available in

alternate formats such as large print or audio.                        At the

fairness hearing, for example, one woman with a vision

impairment testified that her requests for books on

tape     had   been     denied     repeatedly.           The     settlement

agreement addresses these concerns.                     It provides that

educational materials, notices, court orders, and other

generally      available       documents        must    be     provided    in

alternate formats; it also provides for taped texts.

       Several      prisoners        with        hearing        impairments

commented        that   they       had    been     denied       access     to

functional        hearing      aids;      for     example,        prisoners

commented that they had been provided with one hearing


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aid    instead        of     two,    or     that        their     hearing              aid

batteries,       or        hearing    aids           themselves,           were        not

repaired or replaced in a timely manner.                               The court

heard from multiple prisoners that they were unable to

use their hearing aids because they were broken and had

not been repaired for extended periods of time.                                  Others

commented that they had not been provided with sign

language      interpreters.                The        settlement           agreement

addresses        these       concerns           by    mandating        that            the

Department assess each hearing-impaired prisoners with

respect    to     auxiliary         aids    and       services     every             three

months, timely replacement or repair of damaged hearing

aids, and timely replacement of hearing aid batteries.

      Other      prisoners      commented             that,     due        to        their

disabilities,          they    are      denied         access         to        certain

facilities       and       programming.              For    example,            at    the

fairness hearing, one witness stated that he had been

denied access to trade school and the honors program

due   to   his    disability.              To    address      these        sorts        of

issues,    the     settlement         agreement            provides        that        any


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individual       who,        independent         of   disability        status,

qualifies       for     a    certain     program,       must     be    provided

access to that program on a non-discriminatory basis,

and requires the Department to undertake a transition

planning process to determine (among other things) how

to     afford    prisoners         access       to    programs       which    are

currently inaccessible.

       Facilities:          Forty-six         prisoners   indicated           that

their    comments       pertained        to     architectural         barriers.

The court received such comments pertaining to numerous

(indeed, nearly all) Department facilities.                           Prisoners

commented, for example, that the facilities where they

were    housed     lacked      accessible         bathrooms      with      shower

chairs and hand rails, that hallways and dorms lacked

rails,    and     that--due        to    overcrowding--prisoners              with

devices such as canes and wheelchairs were unable to

move     around       safely.           At     the    fairness        hearings,

prisoners testified, for example, that they were unable

to   attend     chapel       and   certain       programs      due    to     those

programs        being       held    in        locations     that      are     not


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accessible    to    individuals    with    mobility      impairments.

Others noted that facilities lacked climate controls,

making them extremely hot in the summer and extremely

cold in the winter.

    The settlement agreement addresses these concerns

by requiring the Department to develop and implement a

transition     plan     for     identifying        and     addressing

architectural      barriers.      The    Department      may    address

these issues either through architectural changes or

potentially through the relocation of programs.                     The

comments     concerning       climate     control        were    mostly

unrelated to any prisoner’s disability and, therefore,

unrelated to the claims brought and now settled in this

case.   To the extent that a prisoner’s disability does

require access to facilities of a certain temperature--

for example, one prisoner           testified at the fairness

hearing that, due to her burn injury, she cannot have

prolonged    heat     exposure--those        concerns      should    be

addressed by way of the new accommodation request and




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grievance    procedure          provided       for    in     the     settlement

agreement.

      Grievances:    Fifteen           prisoners       noted       that       their

comments     pertained          to     the     Department’s             grievance

procedure.      Most       of    these        comments       criticized         the

Department’s     existing            (general)       grievance          procedure

rather than the procedure outlined in the agreement.

Prisoners complained, for example, that no grievance

procedure    currently          exists,        or     that     the      existing

grievance procedure is inadequate.                         Others expressed

concern about the ADA grievance procedure outlined in

the settlement agreement.               One commenter suggested that

the   Department’s     personnel             be     required       to    sign     a

document indicating receipt of an individual grievance.

Another prisoner who testified at the fairness hearing

suggested     that     a        third        party,     outside          of     the

Department’s     system,         be     involved       in    the        grievance

process.     Relatedly, a few prisoners objected to the

Department’s employees serving as ADA coordinators.




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       Because the settlement agreement does establish a

clear and well-elaborated procedure for receiving and

adjudicating         requests       for       accommodations          and    appeals

from     the    denial        of     such       requests,       it       adequately

addresses the objections to the lack of an adequate

process.       The agreement does not require staff to issue

signed     receipts,          but        it     does        require      that    ADA

Coordinators document all grievances, which will help

to ensure accountability.                      If an individual prisoner

within    the    settlement          class       is    unable       to    secure    a

requested       accommodation,                that    individual         can     seek

assistance      from      plaintiffs’           counsel,       and     may     pursue

arbitration,           even        without           plaintiffs’          counsel’s

consent.        The       settlement           agreement       thus      adequately

addresses       this      concern.             Finally,       ADA      regulations

require       that     the      coordinators           be    the      Department’s

employees.       See 28 C.F.R. § 35.107(a) (“A public entity

that    employs      50    or      more   persons       shall       designate      at

least one employee to coordinate its efforts to comply

with    and    carry      out      its    responsibilities             under    this


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part,    including        any    investigation   of    any    complaint

communicated to it alleging its noncompliance with this

part or alleging any actions that would be prohibited

by this part.”)

       Attorney Fees and Money Damages:               Some prisoners

objected       to   the    attorneys’      fee   provision     of   the

settlement agreement, while others objected to the fact

that the agreement only provided for injunctive relief

rather than money damages.               The court will address the

appropriateness of the attorneys’ fees in a subsequent

section of this opinion.

       As to money damages, the court understands that

commenters alleging past harms may feel that they are

entitled to damages.             But in determining whether the

settlement in this case is a fair and reasonable one,

the court must look to whether the settlement agreement

is an adequate resolution of the claims presented in

this lawsuit.          Since its inception, the plaintiffs in

this    case    have      only   alleged    claims    for    injunctive

relief; no money damages were ever at issue.                  Moreover,


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Eleventh Circuit case law makes clear that an unnamed

class member cannot be precluded from bringing a claim

for    damages      stemming     from     the     same     conditions

challenged     in    the     class      action,     if    the    class

representatives sought only injunctive or declaratory

relief.      See Fortner v. Thomas, 983 F.2d 1024, 1031

(11th Cir. 1993) (collecting cases).                This additional

remedial avenue has therefore not been foreclosed.

      Conclusion:    The court has carefully considered the

comments and objections filed by class members, which

highlight the importance of the reforms to be effected

pursuant to the consent decree.               However, none calls

into serious question the fairness or adequacy of the

settlement agreement.



        iii.   Objections by Federal Public Defender
                 and Equal Justice Initiative

      Four death-sentenced prisoners, represented by the

Federal   Public     Defender,    filed     an    objection     to   the

section of the settlement agreement, V.5.I.C.2, that

requires defendants to test prisoners for intellectual

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disabilities and that reserves for defendants the right

to administer additional tests.                       Their      objection is

that there is a risk that this testing, especially if

repeated,     could         artificially           inflate       a     prisoner’s

results,     which      could     in        turn     adversely            impact    a

potential    intellectual-disability                 defense         to    a   death

sentence under Atkins v. Virginia, 536 U.S. 304 (2002).

     The    objectors        requested       that     the    reservation           of

defendants’ right to administer additional testing be

struck     from     the      settlement,            that     death-sentenced

prisoners (and their lawyers) be given an opportunity

to   opt   out    of    testing,       and    that     such      prisoners         be

allowed      to        provide     defendants               with          alternate

documentation          to     demonstrate            their           intellectual

disabilities.

     The    court      ordered     the       parties        to       solicit       and

present to the court the view of the Equal Justice

Initiative, which represents many of the prisoners on

Alabama’s    death      row.       The       Equal    Justice          Initiative

agrees with the objection and believes that the only


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way     to    protect        the     rights           of     the      roughly      200

death-sentenced prisoners in defendants’ custody is to

exempt them from all testing “until and unless [their]

lawyer[s] request[]” it.                  Letter from Bryan Stevenson

(doc. no. 652-1) at 1.                  The Federal Defender has since

expressed       its       agreement           with         the     Equal      Justice

Initiative that death-sentenced prisoners should not be

required      to    opt     out    of    testing.            Both     the     Federal

Defender      and     the    Equal       Justice       Initiative           take   the

position that the proposed exemption does not violate

the ADA or the Rehabilitation Act.

      In     response       to     the    objections             of   the     Federal

Defender      and     Equal       Justice       Initiative,           the     parties

submitted a joint proposal that the relevant section be

‘carved out’ with respect to the few hundred prisoners

on death row.         Under this approach, the Department will

not     be    required       to     change           its    current         practices

regarding      the        testing        of     death-row          prisoners       for

intellectual        disabilities,              and    the        question    whether

these      practices       are     adequate          with    respect        to   those


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prisoners     will        be    reserved       for    adjudication          or

settlement during Phase 2 of this litigation.

       The parties agree that this resolution is in the

best    interest     of    all    class    members,      including         the

death-row prisoners affected by it.                    The court finds

that the objections of the Federal Defender and Equal

Justice Initiative present a serious question worthy of

further     consideration          and,    because       the        parties’

proposed solution would allow more time to resolve this

narrow issue without delaying the entry of the consent

decree, it agrees that such a carve-out is appropriate.

       Unlike most of the other stipulations the parties

have filed, which offer clarifying interpretations of

provisions of the settlement agreement, the parties’

proposal    with     respect      to    this    issue    amounts       to    a

modification    of    the       settlement     agreement.           However,

after     careful    consideration,         the      court    finds    that

additional    notice       of    this    modification        need    not    be

given, for three reasons.




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       First, the parties propose a modification only to a

small subsection of the settlement agreement.                           Second,

the number of prisoners affected by the change will be

very     small--less        than     one     percent       of    the    current

population.         Third, and most important, carving out the

provision will not constitute a final resolution of the

issue.     Instead, the matter will simply be reserved for

future resolution.            For these reasons, notice is not

required.       See Harris v. Graddick, 615 F. Supp. 239,

244    (M.D.    Ala.      1985)    (Thompson,        J.)    (holding,        with

respect    to       an   amendment      to   a     settlement      of   a    Rule

23(b)(2) class action, that “where the amendment is

narrow and it is clearly apparent that the interests of

the classes are not substantially impaired, the court

is of the opinion that the notice already given is

adequate and that additional notice is not required

pursuant       to    Rule    23(e)”);        see     also       Keepseagle    v.

Vilsack,    102      F.   Supp.    3d      306,    313-14       (D.D.C.     2015)

(Sullivan, J.) (citing cases).




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                    iv.    Views of Class Counsel

       Class counsel contend that the settlement agreement

is    a    fair,   adequate,       and     reasonable   resolution   of

plaintiffs’ Phase 1 claims.                 They argue that, if the

agreement is approved, the Department will be required

to address discrimination against disabled prisoners on

several fronts, including by creating a transition plan

and       the   oversight     mechanisms       described   above,    by

instituting corrective actions to bring facilities into

compliance with the ADA and the Rehabilitation Act, and

by continually reassessing its policies and procedures

to ensure that prisoners are not discriminated against

on the basis of their disabilities.

       They also contend that changes to existing policies

and procedures will allow for improved identification

and tracking of disabilities and ensure that prisoners

with disabilities will be afforded, and continue to

receive,        appropriate       accommodations    throughout    their

incarceration.            These    policy    and   procedural   changes

will      allow    disabled       prisoners    increased   access    to


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rehabilitative           programming           available             within      the

Department        system;       those        prisoners          in    residential

treatment and stabilization units will likewise benefit

from         individualized         assessments                 as      to       the

appropriateness          of   restricting         their     access       to     such

programming.

       Further,    class      counsel        argue     that,         although    the

settlement agreement will not provide (and plaintiffs

never        sought)      direction          as      to     the        particular

accommodations to be provided to individual prisoners,

the    changes     to     the    Department’s           existing        grievance

processes will create a meaningful avenue for prisoners

to     assert     their       rights         to   such          accommodations.

Finally, they argue that the Department’s creation of a

new quality assurance program, the monitoring process,

and    the    continued       jurisdiction         of     the        court    for   a

period of at least five years will help to ensure that

the agreement is implemented appropriately.

       The court considered appointing a guardian ad litem

to    advocate     for    the    interests        of      the    unnamed      class


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members who, due to cognitive and communication-related

disabilities, are incapable of understanding the terms

of the settlement agreement or submitting intelligible

comments on them.           The court heard the views of the

parties as to this proposal.                 Instead of appointing a

guardian ad litem, it found that ADAP, which has a

federal     mandate    to     advocate        for    and    ensure       the

protection of disabled Alabamians, was best situated to

voice the concerns of these class members.

      The court explained that, although “this court did

not     appoint   a   [guardian         ad     litem]      to     represent

incompetent class members in a previous class action

challenge    regarding       the   State's       mental         health   and

mental retardation system[,] [it] then explained ...

that ‘a court should be even more circumspect about

accepting    a    settlement       where       ...   members       of     the

plaintiff class are not themselves capable of assessing

the settlement and voicing their views on whether it is

fair,    reasonable    and    adequate,        and   the        court    must

therefore rely on comments from such secondary sources


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as public interest groups and organizations.’”                       See

Dunn v. Dunn, -- F. Supp. 3d --, 2016 WL 3869905, at *2

(M.D. Ala. July 7, 2016) (Thompson, J.) (quoting Wyatt

ex rel. Rawlins v. Wallis, 1986 WL 69194, at *3 (M.D.

Ala. Sept. 22, 1986) (Thompson, J.), and citing William

B. Rubenstein, The Fairness Hearing: Adversarial and

Regulatory Approaches, 53 UCLA L. Rev. 1435, 1450-52

(2006)    (discussing       the      related     roles     that   public

interest groups and court-appointed guardians can play

in   monitoring       the   fairness      of    class     settlements)).

ADAP     is   the     primary     public       interest    organization

devoted to disability rights issues in Alabama.

       The court also declined to appoint a guardian ad

litem because, practically speaking, such an individual

would be hard-pressed to even identify class members

with cognitive and communication-related disabilities,

given    that   the    lack     of   a    system   to     identify   such

prisoners is one of the problems to be remedied under

the settlement.        By contrast, ADAP is familiar with the

needs of these class members in light of its statutory


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role    as   their   advocate      and    its   involvement       in    this

litigation.         The    court therefore       instructed ADAP to

file     a   brief        discussing      whether    the      settlement

agreement was a fair resolution of the claims of class

members with severe cognitive and communication-related

disabilities.

       In its brief, ADAP explains that the settlement

agreement is a fair resolution of these claims because

it provides benefits to all disabled prisoners as well

as particular benefits to the subset with cognitive and

communication-related            disabilities.       The      settlement

agreement’s provisions relating to identification and

tracking of disabled prisoners, access to programs and

services, and the ADA request and grievance process,

inure to the benefit of all disabled prisoners.

       Additionally,       the    settlement      agreement     includes

detailed specifications for testing to assess prisoners

for     cognitive    disabilities;        these     evaluations         will

allow    defendants       to   provide    accommodations       to      those

prisoners     who    require      them.     Prisoners      with     severe


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communication-related          disabilities         have    much    to    gain

from    the    provisions         regarding        auxiliary       aids    and

program    access,      which      require        defendants   to     supply

note-takers,        readers,      and    tutors,      other    aides,      and

communication devices.



                       v.   Court’s Assessment

       The court must also assess for itself, based on the

evidence and argument presented by the parties and by

class members who submitted comments and objections,

whether       the     settlement        is    fair,        adequate,      and

reasonable.         “Relevant factors include the stage in the

proceedings; the plaintiffs’ likelihood of success at

trial; the complexity, expense, and likely duration of

the    lawsuit;      and    the   range      of    possible    recovery.”

Laube, 333 F. Supp. 2d at 1246.

       As to the substantive provisions of the agreement,

the court finds that they represent a highly favorable

result for the plaintiff class.               The plaintiffs in this

case challenged the Department’s treatment of disabled


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prisoners at a systemic level.                          They argued that the

Department’s            policies       and       procedures       were      grossly

inadequate to ensure compliance with the ADA and the

Rehabilitation            Act,        and        that    because       of     these

inadequate          policies           and        procedures,         disability

discrimination was prevalent.

       The    settlement         agreement          essentially       gives      the

class    all       of   the   remedies           plaintiffs    sought       at   the

outset of this litigation.                   Notably, even if plaintiffs

had proceeded to and prevailed at trial on their Phase

1 claims, the parties would have still been confronted

with the task of fashioning a remedial plan.                             Any such

plan would likely have closely resembled that contained

in the settlement agreement currently before the court.

Notably, because there are a variety of ways in which

the    Department         may    accommodate            certain      disabilities

(for     example,        either       by     moving      a   prisoner       or    by

renovating the facility where he is housed), the court

would as an initial matter have permitted defendants to

select       the    manner       in    which        they     would    come       into


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compliance with federal law.                    Moreover, because such

systemic     changes      are           involved      (for       example,      the

creation and implementation of a new computer system,

and assessment and training of tens of thousands of

people),   it    would    not           have   been      feasible    to     order

significantly          more         rapid       compliance          than        is

contemplated in the settlement agreement.                         If anything,

settlement means that change will come more quickly.

    During      and     shortly           following        the     preliminary

approval   hearing,       the       court      did    express      significant

concerns   regarding          two       particular       provisions       of   the

settlement      agreement:          a    provision        stating    that      the

claims being settled had been raised only against the

Department,      and     not        against        the    official-capacity

defendants, and a provision outlining a mechanism for

arbitration       of      disputes              arising          during        the

implementation        period.            However,        after    considerable

discussion, the parties have resolved these issues to

the satisfaction of the court by entering into binding

stipulations regarding these provisions.


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                 1.   Official-Capacity Defendants

       The settlement agreement states that the plaintiffs

brought no ADA or Rehabilitation Act claims against the

two official-capacity defendants (who are defendants to

plaintiffs’ Eighth Amendment claims in Phase 2 of this

litigation), and that the Department is therefore the

only defendant involved in the settlement of Phase 1.

       The court expressed concern that the exclusion of

the    official-capacity          defendants    from     the    Phase    1

settlement       could    potentially       create   a   problem       were

plaintiffs later to return to court in an effort to

enforce    the    terms     of   or   extend   the   consent        decree.

Alabama’s        Eleventh        Amendment     immunity        has    been

abrogated by the express terms of the Rehabilitation

Act.    See Garrett v. Univ. of Ala. at Birmingham Bd. of

Trs., 344 F.3d 1288, 1290-93 (11th Cir. 2003).                          The

ADA, by contrast, abrogated sovereign immunity only to

the    extent    that    the     claims    brought   under     it    allege

actions that constitute violations of the Fourteenth


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Amendment.      See United States v. Georgia, 546 U.S. 151,

159 (2006).

       Absent    the      inclusion       of     an     official-capacity

defendant       subject     to     suit    under        Ex   parte   Young,

plaintiffs would be unable to challenge any                          ongoing

violations of the ADA (but not the Rehabilitation Act)

that did not constitute violations of the Fourteenth

Amendment.        Although       these     are    often      described   as

largely overlapping statutes, see Cash v. Smith, 231

F.3d    1301,    1305     (11th     Cir.       2000),    there    are   some

disability-rights claims that can be brought only or

are easier to bring under the ADA, because the ADA’s

causation       requirement        is      more       relaxed--that      is,

“because of,” rather than “solely by reasons of.”                        See

Soledad v. U.S. Dep’t of Treasury, 304 F.3d 500, 504-05

(5th Cir. 2002).

       The State was unable simply to waive its immunity

for purposes of this suit, because a provision of the

Alabama Constitution has been interpreted to bar waiver

“by    the   Legislature      or    any    other        State   authority.”


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Stroud v. McIntosh, 722 F.3d 1294, 1299 n.2 (11th Cir.

2013) (citation omitted); see also Alabama v. Pugh, 438

U.S. 781, 782 (1978) (same).                 Therefore, the parties

have     stipulated     that    “without      the     necessity          of    a

separate amendment to the Complaint, Commissioner Dunn,

in his official capacity as Commissioner of the Alabama

Department of Corrections, be added (a) as a defendant

to     the   claims    addressed       in    the     proposed       Phase       1

settlement agreement and (b) as a named party to that

agreement.”         Joint Br. Addressing Ct.’s Question Re.

Addition of Official-Capacity Defs. to Phase 1 Claims

and    Settl.   (doc.    no.    576)    at    1.      This    stipulation

resolves      the     court’s     concern;         both      the     Alabama

Department of Corrections and Commission Jefferson Dunn

are defendants to the Phase 1 claims.



                          2.    Arbitration

       The    settlement        agreement          provides        for        the

arbitration of disputes arising during the pendency of

the consent decree.            Because the court requested and


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the    parties    provided      a    number     of   clarifications

regarding the scope and effect of this provision, it is

reproduced here in full for ease of discussion:

      “VII.   DISPUTE RESOLUTION PROCESS

          1. During the assessment, implementation,
      or monitoring periods of this Amended Agreement
      (see Sections V-VI, above), if Plaintiffs’
      counsel or the monitor believe that ADOC is not
      complying with some aspect of the Amended
      Agreement, they will notify counsel for the
      ADOC, in writing, of such a belief identifying
      any facts supporting the belief. ADOC will
      investigate the allegations and respond in
      writing through its counsel within thirty (30)
      days after receipt of the notification.      If
      Plaintiffs’ counsel or the monitor is not
      satisfied with ADOC’s response, the Parties
      will negotiate in good faith to resolve the
      issue(s). If the Parties are unable to resolve
      the issue(s) timely and satisfactorily, the
      Parties agree to present the issue(s) for
      binding arbitration before Hon. John E. Ott,
      U.S. Magistrate Judge for the Northern District
      of Alabama.15 This provision regarding binding
      arbitration applies regardless of whether the
      issue affects twelve (12) or more inmates, as
      discussed below.

              15. If, at any time during the
          term this Amended Agreement is in
          effect, Judge Ott or any successor
          arbitrator  becomes  unavailable  to
          arbitrate disputes, the Parties will
          agree upon a replacement arbitrator.
          If the Parties are unable to agree
          upon a replacement arbitrator, they

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        will petition the Court to appoint a
        replacement arbitrator who will be a
        current or former U.S. Magistrate
        Judge from one of the U.S. District
        Courts sitting in Northern, Middle or
        Southern Districts of Alabama.

       2. If the issue is one that impacts fewer
   than twelve (12) inmates, resolution through
   the arbitration process shall be the final
   resolution   under   this  Amended   Agreement.
   Nothing in this Amended Agreement establishes a
   compulsory administrative prerequisite with
   which an Inmate must comply prior to the
   initiation of a lawsuit alleging violations of
   the Acts suffered during the Inmate's term of
   incarceration. Nothing in this agreement shall
   prevent an Inmate from exercising his/her
   rights under ADOC’s ADA Grievance Process.

       3. If the issue is one that impacts
   twelve (12) or more Inmates and the Parties are
   unable to resolve the issue(s) timely and
   satisfactorily   through  negotiation   or  the
   arbitration process, either party may bring the
   issue before the Court for resolution.      Any
   issue brought before [t]he Court will be
   decided on an abuse of discretion standard.

       4. Issues relating to ADOC system-wide or
   facility   specific   policies,   or   physical
   barriers within a specific facility, shall be
   presumed to impact twelve (12) or more inmates.
   The Arbitrator shall have the authority to
   decide whether an issue impacts twelve (12) or
   more inmates.

       5. In the event that the arbitrator or
   Court, acting as final decision-maker, finds
   that ADOC has failed to comply with this

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     Amended Agreement, ADOC will submit a plan to
     remedy   the  deficiencies   identified within
     thirty (30) days of the decision. In the event
     that such a plan does not timely remedy the
     deficiencies, the Court retains the authority
     to enforce this Amended Agreement through all
     remedies provided by law. Any attorneys’ fees
     awarded are subject to the provisions of
     Section XII of this Amended Agreement.

         6. The Court will be the sole forum for
     enforcement of this Amended Agreement.    Any
     order to achieve Substantial Compliance with
     the provisions of this Amended Agreement will
     be subject to the provisions of the Prison
     Litigation Reform Act, 18 U.S.C. § 3626.”

Am. and Restated Settl. Agmt. (doc. no. 518) at 70-72.

     In its order preliminarily approving the settlement

and in subsequent briefing orders, the court expressed

concerns and sought clarification regarding the extent

to   which    arbitration      would     be    binding      (or,    put

differently, not subject to judicial review), mandatory

(or, put differently, the exclusive avenue for relief),

and enforceable.

     In a number of subsequent stipulations, the parties

have addressed the court’s questions and significantly

assuaged its concerns.



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              a.   When Is Arbitration Binding?

    As a preliminary matter, the parties have addressed

the court’s concern that the language in this provision

is somewhat inconsistent, in describing the arbitration

in subsection 1 as “binding” but then explaining that

the arbitrator’s decisions will be appealable if the

issues   decided    affect     12     or    more    prisoners.      The

parties have entered a binding stipulation confirming

that the word “binding” should be omitted from this

subsection and that “the decision of the arbitrator is

binding (that is, not subject to appeal) only if the

issue    affects     fewer     than        twelve    (12)   inmates.”

Parties’ Joint Stip. (doc. no. 638) at 1.

    Additionally, the court anticipated the possibility

that a dispute could arise over whether the arbitrator

had correctly decided that an issue affected fewer than

12 prisoners.      The court therefore sought clarification

as to whether the parties intended their agreement--in

stating that the arbitrator “shall have the authority


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to decide whether an issue impacts twelve (12) or more

inmates”--to vest him with the exclusive (unreviewable)

authority to decide this issue.                In response to this

concern, the parties have entered a binding stipulation

in which they “agree that the arbitrator’s decision as

to whether a particular issue affects more than 12 16

inmates will be subject to review by the District Court

for abuse of discretion.”          Id.

       Lastly,     the   court   sought   clarification     regarding

the relationship between the arbitration process and

motions the parties might file to terminate or extend

the consent decree.          The parties confirmed in a binding

stipulation that such motions may be heard and decided

only    by   the    court.       Phase    1   Parties’   Joint   Stip.

Concern. Provs. of PLRA as Relates to Phase 1 Settl.

(doc. no. 560) at 3.




    16. The court understands the parties to mean “12
or more,” rather than “more than 12.” According to the
arbitration provision, decisions affecting exactly 12
prisoners are appealable.

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     The parties further explained that although many of

the arbitrator’s factual findings would be binding on

this court in considering such a motion, some factual

findings,    and     the    arbitrator’s           conclusions        of    law,

would not be. 17           Specifically, they stated                 that the

arbitrator’s decisions would be binding on a motion to

terminate    or    extend     only      if       defendants       successfully

asserted     the     affirmative             defense        of      collateral

estoppel.     See Joint Resp. to Ct.’s Second Suppl. Br.

Order      (doc.     no.     563)           at    7     &    n.5.           They

explained--correctly--that              to       the    extent      an     issue

raised in a motion to terminate or extend was identical

to   one    actually       litigated         (with      a   full    and    fair

opportunity     to   do     so)   in    front         of,   and    necessarily

decided by, the arbitrator, his decision would preclude



    17. This discussion pertains only to factual
findings made by the arbitrator which relate to fewer
than 12 prisoners.   Because the arbitration provision
sets no deadline by which decisions affecting 12 or
more prisoners must be appealed, any factual findings
pertaining to 12 or more prisoners could simply be
appealed in conjunction with a motion to terminate or
extend.

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relitigation of that issue on a motion to terminate or

extend.       See Christo v. Padgett, 223 F.3d 1324, 1339

(11th     Cir.       2000)     (setting     forth     requirements     for

collateral estoppel); Freecharm Ltd. v. Atlas Wealth

Holdings Corp., 499 F. App’x 941, 943-45 (11th Cir.

2012)        (holding        that   collateral        estoppel       barred

relitigation of an issue decided in arbitration).

       Moreover, the parties agreed that the arbitrator’s

conclusions         of   law   would    not   be    binding    under    the

doctrine       of    collateral     estoppel,       because   the     legal

question whether defendants had violated the consent

decree with respect to any individual unnamed                        class

member       would    not    have   been    litigated    by    the    named

plaintiffs and, perhaps more important, would be very

much distinct from the legal issues before the court on

a motion to terminate or extend: whether defendants

were    in    substantial       compliance     with    the    decree   and




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whether they were committing ongoing violations of the

ADA. 18

     Helpfully,       the      parties       offer     an       illustrative

example   of    an    unnamed    class       member,      Mr.    Jones,    who

asserts    in    an     arbitration          that    he     submitted      an

accommodation        request    for      a   cane    but        received   no

response, in violation of the consent decree.                       Suppose,

they say, that the arbitrator decides that defendants

have not violated the decree because Mr. Jones did not

in fact submit the accommodation request.                        Suppose as

well that plaintiffs later seek to avoid termination of

the decree based (in part or in whole) on a showing



    18. In the fifth year, the question (per the terms
of   the   settlement  agreement)   would  be  whether
defendants had been in substantial compliance with the
terms of the decree for at least one year.

    Were plaintiffs to seek to extend jurisdiction into
a sixth year and beyond, the court would need to
determine--pursuant to the PLRA--whether “prospective
relief remain[ed] necessary to correct a current and
ongoing violation of [a] Federal right, extend[ed] no
further than necessary to correct the violation of the
Federal right, and [was] narrowly drawn and the least
intrusive means to correct the violation.”    18 U.S.C.
§ 36526(b)(3).

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that defendants are repeatedly failing to respond to

accommodations requests.

    In such a circumstance, the parties agree that the

arbitrator’s factual finding that Mr. Jones did not

submit an accommodation request would be binding on the

court.   However, plaintiffs would not be estopped from

arguing that other class members had submitted requests

but received no responses, or indeed that Mr. Jones had

suffered some other violation of the consent decree or

the ADA (including that the failure to provide him with

a cane was, per se, a violation of either the decree or

the statute).        Moreover, as discussed, the specific

legal issue decided by the arbitrator--that defendants

had not violated the decree by failing to respond to

Mr. Jones’s accommodation request--would not again be

at issue on a motion to extend or terminate, so his

determination would therefore not bind the court.




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                 b.    When Is Arbitration Mandatory?

     The    court’s       most     significant      concern    about     the

arbitration provision, based on representations made by

defense         counsel     during       the    preliminary      approval

hearing, was that it could prevent class members from

raising    in     federal     court     (this   one   or    another    one)

claims that had not been raised or settled in this

case. 19    Had it swept so broadly, the court might well

have been unwilling to approve it.

     However, the parties have agreed to construe the

arbitration           provision    to    require    an     unnamed    class

member     to    submit     to    arbitration      only   if   seeking    to



    19. See Pride v. Correa, 719 F.3d 1130, 1134-37
(9th Cir. 2013) (holding that a consent decree
governing the provision of medical care to prisoners
across the state did not preclude an individual
prisoner’s Eighth Amendment claims regarding specific
medical treatment allegedly denied to him, because the
consent decree governed “a broad category of conduct”
and the “specific issues raised [by the plaintiff]
ha[d] not already been addressed conclusively by the
decree[],” and that “individual claims for injunctive
relief related to medical treatment are discrete from
the claims for systemic reform addressed in [the
consent decree]” (citations and internal quotation
marks omitted)).

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enforce the terms of the settlement agreement.                                   See

Joint Br. Re. Scope of Arbitration (doc. no. 575).                                 A

prisoner     who    seeks       to    assert     a    new   and     independent

claim      alleging       a     violation        of       the     ADA     or     the

Rehabilitation Act is free to file such a lawsuit in

federal     court.         Of    course,       defendants         would    be     at

liberty to argue that the claims in that complaint were

precluded     by    the       settlement     in      this       case,   but     they

would have to do so based on the substantive provisions

of   the    consent       decree       and   not      on    the     arbitration

provision itself.

     Based on this stipulation, and in light of circuit

case law regarding enforcement of consent decrees by

unnamed     class     members,        the    court        concludes     that     on

balance, the arbitration provision expands, rather than

limits,     the    remedies          available       to    an    unnamed       class

member who contends that the consent decree has been

violated     to     that       individual’s          detriment.           In     the

Eleventh Circuit, consent decrees are enforceable only

through contempt proceedings, see Reynolds v. McInnes,


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338 F.3d 1201, 1208 (11th Cir. 2003), and “unnamed,

non-intervening         members        of    a    class    ...    do   not   have

standing to enforce [a] consent decree.”                           Reynolds v.

Butts, 312 F.3d 1247, 1250 (11th Cir. 2002).                            But see

Clarkson v. Coughlin, 2006 WL 587345 (S.D.N.Y. Mar. 10,

2006)       (Sweet,   J.)       (discussing         the     adjudication      of

contempt motions brought by unnamed class members to

enforce      a   consent    decree).              Absent    the    arbitration

provision,       an   unnamed      class         member    unrepresented      by

class counsel could not obtain relief for a violation

of the consent decree.             The arbitration provision gives

such a prisoner an avenue by which to appeal the denial

of accommodation to an adjudicator unaffiliated with

the Department.

       Additionally, the court expressed the concern that

the remainder of the consent decree not be undermined

were    a     court     later     to        invalidate      the    arbitration

provision,        for       whatever             reason.           During     an

on-the-record conference call to address this issue,

the parties stipulated that the arbitration provision


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is to be “governed by the Federal Arbitration Act and

case law interpreting it,” and, pursuant to that case

law, “is severable from the remainder of the settlement

agreement, such that were a court to invalidate the

arbitration provision at some point during the pendency

of the consent decree, the remainder of the consent

decree    would     remain    in      full     force.”         Arbitration

Severability Stip. (doc. no. 719) at 4.                        See Buckeye

Check    Cashing,    Inc.    v.    Cardegna,        546     U.S.   440,   445

(2006)     (“[A]s     a      matter      of        substantive      federal

arbitration law, an arbitration provision is severable

from the remainder of the contract.” (interpreting § 2

of the Federal Arbitration Act, 9 U.S.C. §§ 1-16)).



            c.    How Is Arbitration Enforceable?

    The court sought confirmation that the arbitrator’s

decisions    would     meaningfully           be    enforceable.          The

parties    confirmed      their    agreement         that    although     the

arbitrator will not himself exercise enforcement power,

the consent decree requires compliance with decisions


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of the arbitrator, such that failure to do so would be

a “straightforward” basis for a finding of contempt.

Joint Resp. to Ct.’s Second Suppl. Br. Order (doc. no.

563) at 3-6.         (Of course, whether defendants had indeed

failed    to    comply         with   a    decision       by   the     arbitrator

would be a question for the court to decide.)                               To the

extent     that      a     dispute        concerns    a        dozen      or     more

prisoners      and       the    arbitrator’s        decision         is   in     fact

appealed       to   the    court,         failure    to    comply         with    the

resulting court order would obviously be a basis for a

finding of contempt. 20



                                d.    Conclusion

     The court evaluated the arbitration provision in

the parties’ settlement agreement with extreme care,

given    the    host      of    serious        concerns    that      arise       when

adjudications        of        individual       civil-rights         claims       are

shunted     from         the     federal        courts         to    alternative



    20. In such a case, the movant would need to show
by clear and convincing evidence that the non-movant
(continued...)
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mechanisms of dispute resolution.              See Judith Resnik,

Diffusing    Disputes:     The    Public     in    the   Private     of

Arbitration, the Private in Courts, and the Erasure of

Rights, 124 Yale L.J. 2680 (2015); Kathryn A. Sabbeth &

David C. Vladeck, Contracting (Out) Rights, 36 Fordham

Urb. L.J. 803 (2009).

    However, the arbitration provision at issue here

offers some benefits to class members in facilitating

prompt resolution of disputes regarding noncompliance,

and avoids many of the most significant pitfalls that

often attend such clauses.              Although some arbitration

clauses expressly preclude aggregation of claims, see

Judith Resnik, Fairness in Numbers: A Comment on AT&T

v. Concepcion, Wal-Mart v. Dukes, and Turner v. Rogers,

125 Harv. L. Rev. 78 (2011); Jean R. Sternlight, As

Mandatory Binding Arbitration Meets the Class Action,

Will the Class Action Survive?, 42 Wm. & Mary L. Rev. 1

(2000),   this   provision       both    permits   aggregation      and

preserves judicial review of any dispute that affects


had failed to comply with the court’s order.

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numerous      prisoners      or        implicates         systemic       or

facility-wide      policies.       And    while        some    arbitration

clauses    sweep    very   broadly       (or     are    interpreted      by

courts to do so), requiring arbitration of a wide array

of disputes might arise between the parties, see Dasher

v. RBC Bank (USA), 745 F.3d 1111, 1115 (11th Cir. 2014)

(discussing the presumption in favor of arbitrability),

this provision applies only to disputes arising from

the terms of the parties’ settlement agreement and not

to freestanding claims that defendants have violated

the ADA or the Rehabilitation Act.

     After    close   consideration,            the    court     therefore

concludes that the arbitration provision, as construed

by   the   parties’    binding     stipulations,          is     fair   and

reasonable to the class members.

     Finally, the court notes that, to the extent the

parties’ stipulations clarify the meaning of a portion

of the provision by expressly adopting one of multiple

possible     interpretations      of     it,    they     all    adopt   the

interpretation      that   is     least        restrictive      of   class


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members’ rights to raise disputes in federal court.

The court therefore concludes that additional notice of

the parties’ stipulations need not be provided to the

members of the class prior to final approval and entry

of the consent decree.         See Keepseagle, 102 F. Supp. 3d

at 313-14; Harris, 615 F. Supp. at 244.

    However,     the   court     will    require    the    parties   to

prepare   a   notice,     intelligible      to     the    lay   reader,

describing    the     arbitration       process    as    construed   by

these stipulations.          This notice should be posted or

distributed to class members either in advance of or in

conjunction    with    the     notice    defendants      will   provide

regarding the availability of the new ADA request and

grievance process.



    C.    Class Counsel and Fees: Rules 23(g) and (h)

                          i.    Rule 23(g)

    Rule 23(g) requires the court to appoint (and also

to assess the suitability of plaintiffs’ counsel to

serve as) class counsel.           The rule requires the court


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to     consider     “(i) the     work     counsel     has     done    in

identifying or investigating potential claims in the

action;    (ii) counsel’s       experience      in   handling     class

actions, other complex litigation, and the types of

claims     asserted      in     the     action;      (iii) counsel’s

knowledge of the applicable law; and (iv) the resources

that counsel will commit to representing the class.”

Fed. R. Civ. P. 23(g)(1)(A).             The court must conclude

that     class     counsel     will     “fairly      and    adequately

represent the interests of the class.”               Fed. R. Civ. P.

23(g)(4).

       Lawyers affiliated with the Southern Poverty Law

Center, the Alabama Disabilities Advocacy Program, and

the law firm of Baker, Donelson, Bearman, Caldwell &

Berkowitz        have   represented        named     plaintiffs       in

litigating and negotiating the settlement of this case,

and seek appointment as class counsel. 21               As previously



    21. The    law firm  of   Zarzaur,  Mujumdar, and
Debrosse, has also participated extensively in the
Phase 1 litigation, in representing ADAP. Because its
attorneys do not represent the individual named class
(continued...)
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discussed,    the    record      reflects    that      these   attorneys

have substantial experience in litigating class actions

and    in    the    complex       substantive       areas       of     both

prisoners’-rights and disability-rights law.

      These lawyers have also devoted an extraordinary

amount of time and energy to identifying and developing

the claims and evidence in this case.                  They identified

plaintiffs, investigated their allegations, drafted a

lengthy complaint, engaged in very extensive discovery

(and litigation over it), appeared at numerous court

hearings     and    conferences,     participated         in    days    of

mediation, briefed a motion for class certification,

and   responded     to   questions       raised   by    the    court    and

comments made by class members regarding the settlement

agreement.

      Finally,     the   court    cannot    identify--and        neither

defendants nor the prisoners who have commented on the



members, they have not been named class counsel.
However, the court understands that they are due to
receive a portion of the attorneys’ fees discussed
below.

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settlement      agreement      have        suggested--any    reason    to

believe      that    these    attorneys       have   not     fairly   and

adequately represented the interests of the class, or

will not do so in the future.

       The   court    therefore       concludes      that    plaintiffs’

counsel should be appointed class counsel.



                             ii.   Rule 23(h)

       Federal Rule of Civil Procedure 23(h) requires that

when    class   counsel       seek    fees     and   costs    “that   are

authorized by law or by the parties’ agreement,” they

move for those fees and provide notice to the class.

Fed. R. Civ. P. 23(h)(1).                   Class members (and also

defendants, absent a settlement) must be given notice

and an opportunity to object, and the court must find

that the award sought is reasonable.                  Fed. R. Civ. P.

23(h)(2), (h)(3).

       The settlement agreement provides that defendants

will pay plaintiffs’ counsel $ 1.25 million for their

litigation of the Phase 1 claims up until settlement,


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as     well   as     additional       fees    of    $ 195.00     per     hour

(subject      to     caps)     for     monitoring      services.          For

litigation         arising      out     of    the     consent       decree,

plaintiffs’ counsel will be entitled to fees (again,

subject to caps) only if the court finds that their

services      were    necessary       and    that   they     attempted     to

resolve the issue informally.

       Because       this    provision       was     included       in    the

settlement agreement, class members received notice of

it.     A few prisoners objected to the fee provision,

arguing that the fees class counsel would receive were

excessive.         One      prisoner    argued      that    class   counsel

should receive a larger fee award.                     For the reasons

that     follow,      the     court     concludes      that     the      fees

contemplated          by      the      settlement          agreement      are

appropriate.

       Even when both parties agree to an award, the court

has     an    independent       responsibility         to     assess      its

reasonableness, in order to guard against the risk that

class counsel might agree to enter into a settlement


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less    favorable      to     their    clients        in   exchange    for

inappropriately high fees.             See Piambino v. Bailey, 610

F.2d 1306, 1328 (5th Cir. 1980). 22              The court uses the

lodestar    method,         multiplying    the        number   of     hours

reasonably expended by a reasonable hourly rate, see

Norman v. Hous. Auth. of Montgomery, 836 F.2d 1292,

1299 (11th Cir. 1988), and then considering whether an

upward or downward adjustment is warranted in light of

the    factors   set    out    in     Johnson    v.    Georgia      Highway

Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974). 23




    22. The Eleventh Circuit has adopted as precedent
all decisions of the former Fifth Circuit rendered
prior to October 1, 1981. See Bonner v. Prichard, 661
F.2d 1206, 1207 (11th Cir. 1981) (en banc).

    23. These factors are: (1) the time and labor
required; (2) the novelty and difficulty of the
questions; (3) the skill required to perform the legal
services   properly;    (4) the    preclusion    of   other
employment by the attorney due to acceptance of the
case;   (5) the   customary    fee    in   the   community;
(6) whether the fee is fixed or contingent; (7) time
limitations imposed by the client or circumstances;
(8) the amount involved and the results obtained;
(9) the experience, reputation, and ability of the
attorneys; (10) the “undesirability” of the case;
(11) the   nature   and   length    of   the   professional
(continued...)
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       In    support     of   their    motion,        plaintiffs’     counsel

have        submitted         evidence          that        they     incurred

approximately $ 261,000 in expenses litigating Phase 1

of this case; a portion of the award would cover those

expenses.

       As    to    the   remainder      of      the    award,      plaintiffs’

counsel request compensation at a blended hourly rate

of $ 196 per hour.              Evidence submitted by plaintiffs

shows that this rate is consistent with or below the

blended hourly rates deemed reasonable in other civil

rights cases in Alabama, and very substantially below

the rates at which the lawyers employed by law firms

ordinarily bill their clients.                       The court also finds

class             counsel’s           contention--supported                  by

affidavits--that they have expended (at least) 5,050

hours       in    litigating    Phase       1   of    this    case    entirely

convincing,         given     the   court’s      own    knowledge      of   the

amount of time numerous attorneys have spent in court,



relationship with             the     client;         and    (12) awards     in
similar cases.

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in mediation, in depositions, and in site inspections.

Based on these findings, the lodestar figure amounts to

the $ 989,000 provided for in the settlement agreement.

     After considering the Johnson factors, the court

finds      that      no    downward    adjustment    of    the      lodestar

figure is warranted.               This litigation, which has been

ongoing since 2014, is extraordinarily large in scope;

it concerns both current and future disabled prisoners

at   all    state         prison   facilities,     and    it    sought      and

achieved        a    remedial      order   that   mandates      a   dramatic

transformation in the way that the Department treats

such prisoners.            The range of complex legal and factual

questions presented by the plaintiffs’ claims, and the

amount     of       time   plaintiffs’       attorneys    spent      both   in

preparing this case for trial and, more recently, in

negotiating          and    securing   approval     of    the   settlement

agreement, warrant the sizeable fee award.                          Moreover,

the court is convinced that the experienced attorneys

who litigated this case, and who took it on without any

guarantee of compensation, would have been entitled to


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a higher hourly rate had they litigated a contested fee

motion.

    Finally, the court notes that class counsel seek

these fees pursuant to the fee provisions contained in

the ADA (42 U.S.C. § 12205) and the Rehabilitation Act

(29 U.S.C. § 794a), so their award is not limited by

the PLRA’s restrictions on attorneys’ fees in prison

litigation,    which      apply    only   to   cases   in   which    the

attorneys’ fees are authorized under 42 U.S.C. § 1988.

42 U.S.C. § 1997e(d)(1).



              D.    Prison Litigation Reform Act

    “The PLRA strictly limits the prospective relief a

federal   court     may    order    in    cases   concerning     prison

conditions.”       Gaddis v. Campbell, 301 F. Supp. 2d 1310,

1313 (M.D. Ala. 2004) (Thompson, J.).              These strictures

apply to consent decrees, and hence to this settlement.

18 U.S.C. § 3626(c)(1).

    The PLRA provides that a “court shall not grant or

approve any prospective relief unless the court finds


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that such relief is narrowly drawn, extends no further

than necessary to correct the violation of a Federal

right, and is the least intrusive means necessary to

correct the violation of the Federal right.”                      18 U.S.C.

§ 3626(a)(1)(A).           Furthermore,         in    conducting          this

“need-narrowness-intrusiveness” inquiry,                    the court is

required to “give substantial weight to any adverse

impact on public safety or the operation of a criminal

justice system caused by the relief.”                 Id.

     In some circumstances--such as when a court extends

prospective relief by making renewed findings that the

need-narrowness-intrusiveness requirements continue to

be   met     in    light      of    a     “current          and     ongoing

violation”--the      PLRA    requires       it       to   “engage        in    a

specific,    provision-by-provision              examination        of        [a]

consent    decree[],    measuring        each    requirement        against

the statutory criteria.”           Cason v. Steckinger, 231 F.3d

777, 785 (11th Cir. 2000).               However, in the case of

such an extension or, as here, in submitting to the

court an initial settlement agreement, “[t]he parties


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are free to make any concessions or enter into any

stipulations they deem appropriate,” and the court does

not need to “conduct an evidentiary hearing about or

enter particularized findings concerning any facts or

factors about which there is not dispute.”                 Id. at 785

n.8.

       In this case, the parties agree that the consent

decree     satisfies       the     need-narrowness-intrusiveness

requirements of 18 U.S.C. § 3626(a)(1)(A).                    They so

stipulate in the settlement agreement.                 Based on the

court’s independent review of the settlement agreement,

the court agrees.

       The court further finds that the consent decree

will not have an adverse effect on public safety or the

operation    of   the      criminal-justice      system.        See   18

U.S.C. § 3626(a)(1)(A).           Quite the opposite is true.             A

primary    purpose    of    the   State’s   prison     system    is   to

rehabilitate prisoners in its custody, many of whom

will be released to rejoin society.                 See ADOC Admin.

Reg. 002 at 2 (“The mission of the Alabama Department


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of     Corrections       is    to   confine,           manage    and    provide

rehabilitative programs for convicted felons in a safe,

secure and humane environment ....”).                      When the Alabama

Department of Corrections provides accommodations for

prisoners       with    disabilities          in   a    manner    and    to   an

extent compliant with federal law, those prisoners will

be significantly better able to access and benefit from

the range of services and programming available during

their incarceration.

       Two other portions of the PLRA warrant discussion.

First,        18    U.S.C.       § 3626(b)(1)(A)            provides       that

prospective relief orders “shall be terminable upon the

motion of any party or intervener ... 2 years after the

date    the    court     granted     or       approved     the    prospective

relief [or] ... 1 year after the date the court has

entered    an      order      denying     termination       of    prospective

relief under this paragraph ....”                      However, because the

remedial steps set forth in the parties’ consent decree

will require more than two years to implement, they

have    agreed,        both    in   the       agreement     and    by    filing


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written      stipulations,        that    defendants         may   waive      and

have     waived     the    right    to     seek       termination      of     the

consent decree pursuant to § 3626(b) until at least

five     years    after    the     date    of      final    approval.         See

Depriest v. Walnut Grove Corr. Auth., 2015 WL 3795020,

at *6 (S.D. Miss. June 10, 2015) (Reeves, J.) (“Nothing

about      the   PLRA     prohibits       parties        from    agreeing        to

termination conditions different from those contained

in the PLRA.” (citing cases)). The parties also agree

that the consent decree will automatically terminate

six     years    after    the     date    of    final      approval,      unless

plaintiffs       seek     to    extend     it      and     the   court      finds

extension        warranted      pursuant        to    § 3626(b)(3).           The

court concludes that the termination provisions of the

consent decree comply with the PLRA, and that they are

appropriate        in     light    of     the        significance      of    the

transformational reforms the agreement contemplates and

this court will require.

       Second, 18 U.S.C. § 3626(f) imposes requirements on

a    district     court     appointing         a     special     master     in    a


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prison case.              In order for such an appointment to be

permissible during the remedial phase of a case, the

court     must       find     that      the     remedial         phase        will    be

“sufficiently             complex    to       warrant      the     appointment.”

§ 3626(f)(1)(B).             Additionally, the statute prescribes

a mechanism for selecting a special master from lists

submitted by the parties; it appears that the consent

of    both    parties         would       satisfy       the      spirit,        though

perhaps      not      the     letter,         of    the     provision.               See

§ 3626(f)(2).             Also, § 3626(f)(5) requires the court to

review whether a special master remains necessary on a

twice-yearly         basis,       and     § 3626(f)(6)         imposes         certain

limitations on the special master’s power.

      Furthermore,          the     PLRA      defines      the     term       “special

master”      to    mean      “any    person        appointed       by     a    Federal

court pursuant to Rule 53 of the Federal Rules of Civil

Procedure       or    pursuant       to    any      inherent       power       of    the

court to exercise the powers of a master, regardless of

the     title        or     description            given      by    the        court.”

§ 3626(g)(8).             Pursuant to Rule 53, a special master


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ordinarily makes recommended factual findings which a

district court reviews de novo upon objection; however,

parties to a case may stipulate that a special master

appointed upon their consent has the authority to make

final, unreviewable factual findings.                   See Fed. R. Civ.

P. 53(f)(3)(B).

     The     arbitrator     to    be   appointed        pursuant     to   the

consent      decree,      however,     is   not    a    special      master.

Neither the court nor the parties have ever suggested

as   much,    and   the    parties     stipulated        that   18    U.S.C.

§ 3626(f)     is    not    applicable       to    the   arbitrator,       and

expressly waived the right to challenge his decision or

the consent decree on the basis of this provision.

     In sum, the court is satisfied that its entry of

the consent decree is in full compliance with the PLRA.



                            IV.   CONCLUSION

     In Alexander v. Choate, Justice Marshall explained

that Congress passed the Rehabilitation Act to ensure

that people with disabilities were no longer “shunted


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aside, hidden, and ignored.”             469 U.S. 287, 296 (1985)

(quoting 117 Cong. Rec. 45974 (1971) (statement of Rep.

Vanik)).     Prisoners, looked down upon by society and

hidden from public view, are likewise at risk of such

treatment.         Absent       the     protections     created      and

processes     mandated      by    the     ADA    and     accompanying

regulations, and without effective oversight, prisoners

with disabilities are doubly damned.

     This settlement reflects the Alabama Department of

Corrections’ commitment to making manifest the rights

of disabled prisoners in its custody; it represents the

shouldering of significant responsibility, and presents

an equally significant opportunity, by delineating a

years-long    process      of    ensuring    compliance      with    the

dictates     of   federal       disability      law.       The    court

understands defendants’ investment in this process to

be genuine, and commends them for it.

     The court also recognizes the important role played

by   prisoners      with    disabilities        in     bringing     this

litigation, and commends both the named plaintiffs and


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the numerous prisoners who submitted comments for their

advocacy on behalf both of themselves and of others.

    Finally, the court expresses its appreciation to

Magistrate Judge Ott, for his truly tireless efforts in

helping the parties to reach this settlement agreement,

and for his willingness to serve as the arbitrator.



                                 * * *

    In accordance with the foregoing opinion, it is

ORDERED as follows:

    (1) An injunctive-relief settlement class, defined

          as   “any     current     or    future    inmate     in    the

          physical custody of the Alabama Department of

          Correction who has a disability as defined in

          42 U.S.C. § 12012 and 29 U.S.C. § 705(9)(B),

          excluding      those     inmates     whose     disabilities

          relate solely to or arise solely from mental

          disease,     illness,      or   defect,”     is    certified

          under Federal Rule of Civil Procedure 23(a) and

          (b)(2).


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   (2) The Southern Poverty Law Center, the Alabama

         Disabilities Advocacy Program, and the law firm

         of    Baker,        Donelson,        Bearman,      Caldwell     &

         Berkowitz      are    appointed       as   class   counsel     to

         represent the settlement class under Federal

         Rule of Civil Procedure 23(g).

   (3) The     parties’       settlement       agreement       (doc.   no.

         518), as amended, is approved.

   (4) The       objections       to    the    settlement      agreement

         (doc. nos. 578, 582, 593, 596, 606, 612, 623,

         641, 652, 659, and 663) are overruled.

   (5) The parties’ stipulations (doc. nos. 560, 563,

         575, 576, 638, 696, 709, and 719) are adopted.

   (6) The       settlement       agreement,         as   amended,      is

         entered        as    a        separate      consent     decree.

         Defendants are to commence compliance with its

         terms     as    interpreted          by    the   above-entered

         stipulations.




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   (7) United         States   Magistrate     Judge    John   Ott    is

         appointed arbitrator pursuant to Section VII of

         the consent decree.

   (8) Plaintiffs’ motion for attorneys’ fees (doc.

         no. 703) is granted.

   (9) The parties are to meet and confer and submit

         to the court by no later than September 23,

         2016,    a    plan    for   providing    notice    to   class

         members of the entry of this consent decree and

         for ensuring that they have access during the

         pendency of the consent decree to both it and

         this opinion.         In particular, this notice must

         describe in lay terms the accommodation request

         and grievance processes set out in the decree,

         and must note the availability of arbitration.

   DONE, this the 9th day of September, 2016.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
